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                         UNITED SATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )      No. S5-4:15 CR 404 HEA (NAB)
                                         )
v.                                       )
                                         )
ANTHONY JORDAN (3),                      )
                                         )
      Defendant.                         )

                  UNITED STATES OF AMERICA’S
     RESPONSE TO DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

      COMES NOW the United States of America and states as follows in opposition to

Defendant Anthony Jordan’s motion to suppress evidence (Doc. # 3212):

                                  INTRODUCTION

      Defendant’s request to suppress evidence seized from 4223 West Sacramento, 4217

East Sacramento, 64 Brighton Park Drive, a 2005 Pontiac Grand Prix, a 2004 Pontiac GTO

Coupe, a 2004 Chevrolet Silverado SS, and fifteen (15) digital devices should be denied in

its entirety. This is particularly true because probable cause supported every action

undertaken by officers throughout the investigation of Defendant, and each search warrant

obtained by officers from magistrate judges within this district was based upon the

existence of probable cause.

      Defendant specifically argues that officers searched the 4223 West Sacramento

residence without a valid search warrant.     Defendant notes that the search warrant

authorized officers to search 4223 East Sacramento, not 4223 West Sacramento.


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Defendant also maintains the search warrant is not protected by the good faith exception

to the exclusionary rule and was improperly returned. Further, Defendant argues that that

the probable cause set out in the search warrant affidavits for both 4223 West Sacramento

and 4217 East Sacramento was stale.

       Defendant’s arguments must fail as officers had probable cause to search the

residences at 4223 West Sacramento and 4217 East Sacramento. Both warrants established

that there was a fair probability that evidence of a crime would be found at the time the

search warrants were authorized. Although the return was delayed, the officers did not

intentionally or deliberately disregard Federal Rule of Criminal Procedure Rule 41, and

Defendant was not prejudiced by the late return.

       Defendant next asserts that the officers’ protective sweep of 64 Brighton Park Drive

was overbroad and the search warrant for that property lacked probable cause. Defendant

argues that the Brighton Park warrant failed to authorize the seizure of the 2005 Pontiac

Grand Prix and the subsequent search of that vehicle was the fruit of the poisonous tree.

Defendant also challenges the search and seizure of a 2004 Pontiac GTO Coupe and a 2004

Chevrolet Silverado SS, which were seized from a vehicle repair business. Defendant

argues that these vehicles were seized without a warrant and that the business’ employees

lacked authority to consent to the seizure of these vehicles. Moreover, Defendant claims

that any search warrants for these vehicles were the fruit of the poisonous tree or,

alternatively, lacked probable cause.

       Defendant’s arguments must fail as officers were justified in conducting a protective

sweep of 64 Brighton Park and the subsequent search warrant for 64 Brighton Park was

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supported by probable cause. Similarly, officers had probable cause to seize the Grand

Prix, GTO Coupe, and Chevrolet Silverado and secure each vehicle until a federal search

warrant was ultimately issued because each vehicle was evidence of Defendant’s crimes.

Further, a review of each search warrant issued clearly establishes that there was a fair

probability that evidence of a crime would be found within the Grand Prix, GTO Coupe,

and Chevrolet Silverado at the time the search warrants were authorized.

       Finally, Defendant argues that officers violated Federal Rule of Criminal Procedure

41 because the officers delayed in executing the warrant for 15 digital devices. Defendant

also states that the warrant affidavit included an error and requests a hearing pursuant to

Franks v. Delaware, 438 U.S. 154 (1978). Broadly speaking, Defendant alleges the

affidavit included a deliberately false or reckless statement and omitted a truthful statement

that was purportedly critical to the finding of probable cause.

       Defendant’s arguments must fail as officers did not intentionally or deliberately

disregard Rule 41 when they searched the digital devices. That search warrant was

supported by ample probable cause, and Defendant’s attacks within the four corners of the

search warrant are meritless. Finally, Defendant has failed to make a sufficient showing

to warrant an analysis of the affidavit pursuant to Franks. Accordingly, this Court should

deny Defendant’s request.




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                                     ARGUMENT

I.    SEARCH OF 4223               WEST      SACRAMENTO           AND      4217    EAST
      SACRAMENTO

      A.     Relevant Facts1

      On June 22, July 21, and July 30, 2015, officers received information from a

cooperating witness (CW) who provided detailed information on Defendant’s criminal

activity and Defendant’s utilization of various addresses and vehicles which were actual

evidence of Defendant’s crimes and/or concealed evidence of these crimes.2 On August 6,

2015, Drug Enforcement Administration Task Force Officer Eric Lanham (TFO Lanham)

presented a search warrant to United States Magistrate Judge David D. Noce for the

residence at 4223 West Sacramento, St. Louis, Missouri. Despite the search location

inadvertently being referred to as “East Sacramento” in the search warrant documentation,

TFO Lanham specifically described and attached to the affidavit and warrant a photograph

of the 4223 West Sacramento residence to be searched. TFO Lanham also included a

detailed description of the 4223 West Sacramento residence in the affidavit and caption of

the search warrant. A true and accurate copy of the 4223 West Sacramento search warrant

documentation is submitted herewith as Exhibit 1 and incorporated herein by this

reference.



1
        The background and factual information provided throughout this response is
intended as a summary only and general guide to aid the Court. It is not intended as a
comprehensive statement of the government's case, nor is the United States limiting itself
to the evidence or assertions made herein.
2
       Each reference to CW throughout this pleading refers to the same cooperating
individual.
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      That same day, TFO Lanham also presented Judge Noce with a search warrant for

a garage located at 4217 East Sacramento, St. Louis, Missouri. TFO Lanham attached a

photograph of that garage to the affidavit and search warrant and provided a detailed

description of the garage in the affidavit and caption of the search warrant. A true and

accurate copy of the 4217 East Sacramento search warrant documentation is submitted

herewith as Exhibit 2 and incorporated herein by this reference.

      Judge Noce authorized both warrants. On August 7, 2015, officers executed the

warrant at 4223 West Sacramento. This address matched the description of the property in

the search warrant; was, in fact, the property depicted in the photograph; and the intended

target of the search warrant. Officers also executed the warrant on the garage located at

4217 East Sacramento.

      At 4223 West Sacramento, officers seized inter alia, human hair braids, a box of

paper face masks, fourteen (14) cellular telephones, twelve (12) firearms, ammunition, and

$4,469. At 4217 East Sacramento, officers seized ammunition, two vehicles, gloves, and

other items.    Officers filed returns for the 4223 West Sacramento and 4217 East

Sacramento search warrants on October 19, 2015.

      B.       Opposition

               1.   The 4223 West Sacramento search warrant described the
                    premises with sufficient particularity as to enable the executing
                    officer to locate and identify the premises with reasonable effort,
                    and there was no reasonable probability that another premise
                    might be mistakenly searched.

      Defendant claims that the search of the 4223 West Sacramento residence was

unlawful because the search warrant authorized a search for the residence located at 4223

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East Sacramento, not 4223 West Sacramento. However, the warrant specified with

particularity that 4223 West Sacramento was the place to be searched. This enabled the

executing officer to locate and identify the premises with reasonable effort and there was

no reasonable probability that another premise might be mistakenly searched.

Accordingly, Defendant’s motion should be denied.

       The test for determining the sufficiency of the description of the place to be searched

is whether the place to be searched is described with sufficient particularity as to enable

the executing officer to locate and identify the premises with reasonable effort and whether

there is any reasonable probability that another premise might be mistakenly searched.

United States v. Gitcho, 601 F.2d 369 (8th Cir. 1979). Where a search warrant contains

information that identifies a place to be searched, courts have found that description to be

sufficient even when the warrant lists the wrong address. United States v. McCain, 677

F.2d 657 (8th Cir. 1982).

       Defendant maintains that the search of 4223 West Sacramento was warrantless

because the officers who executed the warrant were familiar with the area and knew that

the warrant only authorized a search of 4223 East Sacramento. As support for this

argument, Defendant relies on Maryland v. Garrison, 480 U.S. 79 (1987). Defendant’s

reliance on Garrison is misplaced.

       In Garrison, officers secured a search warrant for the third floor of 2036 Park

Avenue. At the time the officers obtained and executed the warrant, they believed that the

third floor encompassed an apartment which was occupied by an individual named

McWebb. Officers discovered narcotics in a location they later learned was a separate

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apartment on the third floor, occupied by Garrison. Garrison challenged the search as

unlawful because the search warrant did not authorize the search of both apartments on the

third floor. The Supreme Court noted that the Fourth Amendment prohibits the issuance

of any warrant except one “particularly describing the place to be searched and the persons

or things to be seized.” Id. at 84. The Court explained that the purpose for this particularity

requirement was to prevent general searches and ensure that a search is “tailored to its

justifications and will not take on the character of the wide-ranging exploratory searches.”

Id. The Court noted however, that courts must look at the conduct in light of the

information known at the time the officers acted. The Court found that the objective facts

available to the officers at the time demonstrated there was no distinction between an

apartment and the third-floor premises. Therefore, the officers’ conduct was “consistent

with a reasonable effort to ascertain and identify the place intended to be searched within

the meaning of the Fourth Amendment.” Id. at 79.

       The Court also explained that, if the officers had known there were two separate

dwellings, they would have been excluded in searching Garrison’s apartment because they

did not have probable cause to search that apartment. However, the officers were operating

under a mistaken belief that was reasonable at the time the search warrant was signed and

executed. Id. at 85.

       Defendant’s situation here is distinguishable from Garrison because the officers had

probable cause to search 4223 West Sacramento. Therefore, the concerns raised in

Garrison are not present here. Officers searched the correct address and only made a



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mistake on one part of the address; “East” should have been written as “West.” Courts have

upheld searches of residences where there were far greater discrepancies in addresses.

       For example, in Lyons v. United States, 783 F.2d 737 (8th Cir. 1985), although

officers obtained a search warrant for 325 Atkinson Street, the correct address was 325

Short Street. The warrant described the location to be searched as a single residence with

silver siding and red trim. This description matched the actual property at 325 Short Street.

The defendant argued that the search was improper, but the Court disagreed and found that

the inclusion of an incorrect address was not significant. Instead, the Court explained that

the warrant specified with particularity the place to be searched. Specifically, the warrant

was not misleading or confusing and the warrant provided an accurate physical description

of the premises. Id. at 738. The Court found that the officer “obviously mistakenly read

the street sign” and received assurance that a mistaken search was unlikely since the same

officer applied and executed the search warrant. As a result, the Court declined to apply

the harsh remedy of suppression when the officer merely made a mistake. Id.

       In Gitcho, the Court found that there was no Fourth Amendment violation where

one part of the description of the premises to be searched was inaccurate but other parts of

the description identified the place to be searched with particularity. 601 F.2d at 371.

There, the officers obtained a search warrant for an apartment address which did not exist,

but the officers had the premises of the correct apartment under surveillance. The district

court suppressed the evidence and found a Fourth Amendment violation. The Eighth

Circuit reversed finding that the search did not violate the Fourth Amendment. Where one

part of the description of the premises to be searched is inaccurate, but the description has

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other parts which identify the place to be searched with particularity, searches pursuant to

such warrants have been routinely upheld. Id. (citing United States v. Shropshire, 498 F.2d

137 (6th Cir. 1974); United States v. Smith, 462 F.2d 456, 460-461 (8th Cir. 1972); and

Hanger v. United States, 398 F.2d 91, 98-99 (8th Cir. 1968), cert. denied, 393 U.S. 1119

(1969)). In reaching its conclusion, the Court specifically noted that the agents executing

the warrant personally knew the specific premises intended to be searched and that specific

premises was in fact searched.

       Other courts have adopted the reasoning in Lyons and Gitcho and upheld searches

where the search warrant listed an incorrect address. See United States v. Ross, 2018 WL

3091623 (N.D. Ia. April 11, 2018) (upholding search of vehicle where wrong license plate

number was listed because the warrant contained sufficient particularity describing the

vehicle to be searched and there was no probability that the incorrect vehicle would be

searched); United States v. Thurman, 625 F.3d 1053, 1057 (8th Cir. 2010) (upholding

search warrant listing wrong street number but accurately describing the house and its

location); United States v. Strusinski, 2013 WL 6276380 (D. Minn., December 4, 2013)

(wrong address listed in one location of the warrant did not destroy probable cause where

warrant contained probable cause to search the correct location).

       Defendant argues that officers should have been aware that that Sacramento Avenue

was divided into West and East sections. Defendant claims that, because officers were also

executing a warrant at 4217 East Sacramento, they should have realized that 4223 West

Sacramento was several blocks away. Defendant asserts that this omission by the officers

supports a finding that officers did not take reasonable steps to ensure that they were

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 searching the correct property. Defendant’s argument is incorrect because officers, in fact,

 searched the correct property. Likewise, although the warrant incorrectly listed 4223 East

 Sacramento as the address to be searched, the officers had probable cause to search 4223

 West Sacramento. Thus, this search is not analogous to Garrison where the officers

 searched the wrong property, and Garrison does not provide Defendant with relief. Indeed,

 Defendant has not cited a single case where a court has held that a typographical mistake

 in location on a warrant deems that warrant unreasonable when the place to be searched is

 actually described with particularity.

        The affidavit and warrant described with particularity the location to be searched as

 to enable the executing officer(s) to locate and identify the premises. Specifically, the

 warrant described the property as:

               a two-story, two-family residence, with a chain link fence
               around the front yard. The building consists of a red brick
               construction and white bordered windows. Each residence has
               a white door, next to each door is a brown wooden area with a
               mailbox and numeric affixed above the mailbox. The target
               address is the furthest to the west. [See Attachment A] (Exh.
               1).

 Attached to the affidavit and warrant as Attachment A was a photograph of the premises

 of 4223 West Sacramento (Id.). The detailed description accurately depicted the premises

 of 4223 West Sacramento. The 4223 West Sacramento residence is a completely different

 looking structure than the 4223 East Sacramento property.            A true and accurate

 photographic comparison of the properties at 4223 West and 4223 East Sacramento is

 attached hereto as Exhibit 3 and incorporated herein by this reference.



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        Furthermore, at least two individuals identified the correct property to be searched.

 TFO Lanham, the affiant, observed 4223 West Sacramento and was familiar with the

 property. Additionally, CW also positively identified the property to be searched.

        Lastly, TFO Lanham was the officer who applied for and was present during the

 execution of it. See McCain, 677 F.2d 657 (stating a mistaken search is unlikely where the

 same officers both apply for and execute the warrant). TFO Lanham had personal

 knowledge that the premises at 4223 West Sacramento were intended to be searched and

 that those premises were in fact searched (not 4223 East Sacramento). As a result, there

 was no reasonable probability that another premise might be mistakenly searched, and

 Defendant’s argument fails.

               2.     Officers executing the 4223 West Sacramento search warrant
                      acted in good faith.

      Any evidence obtained as a result of the search warrant is protected by the good faith

 exception to the exclusionary rule under United States v. Leon, 468 U.S. 897 (1984). It has

 long been established that when law enforcement officers, acting in good faith, rely upon

 a search warrant issued by a detached and neutral magistrate that turns out to be lacking in

 probable cause or contained some other technical defect, the evidence need not be

 excluded. Leon, 468 U.S. 897; Massachusetts v. Sheppard, 468 U.S. 981 (1984). “Under

 the good-faith exception, evidence seized pursuant to a search warrant later determined to

 be invalid, will not be suppressed if the executing officer’s reliance upon the warrant was

 objectively reasonable.” United States v. Jackson, 784 F.3d 1227, 1231 (8th Cir. 2015).

 This “good-faith inquiry is confined to the objectively ascertainable question of whether a


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 reasonably well-trained officer would have known that the search was illegal despite the”

 court’s authorization of the warrant. United States v. Clay, 646 F.3d 1124, 1127 (8th Cir.

 2011).

          In Leon, the Supreme Court stated, “[w]e conclude that the marginal or nonexistent

 benefits produced by suppressing evidence obtained in objectively reasonable reliance on

 a subsequently invalidated search warrant cannot justify the substantial costs of exclusion.”

 The Court permitted the admission of evidence from a subsequently invalidated search

 warrant because the officer relied in good faith on the search warrant. In United States v.

 Lindsey, 284 F.3d 874, 878 (8th Cir. 2002), the Eighth Circuit held:

                The good faith exception will not apply if: (1) the judge issuing
                the warrant was misled by statements that the affiant knew
                were false or would have known were false except for “his
                reckless disregard of the truth;” (2) “the issuing magistrate
                wholly abandoned his [or her] judicial role;” (3) the affidavit
                is support of the warrant is “so lacking in indicia or probable
                cause as to render official belief in its existence entirely
                unreasonable;” or (4) the warrant is “so facially deficient... that
                the executing officers cannot reasonably presume it to be
                valid.”

          United States v. Curry, 911 F.2d 72 (8th Cir. 1990) extended Leon and upheld

 searches conducted pursuant to warrants which lacked a description of the premises to be

 searched. When evaluating whether officers relied in good faith on a warrant containing

 inaccurate information affecting particularity, the Eighth Circuit has found relevant that

 the officers executing the warrant personally knew which premises was intended to be

 searched, that the premises was under constant surveillance, and that the premises which

 was intended to be searched was in fact the premises searched. Gitcho, 601 F.2d at 371;

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 see also United States v. Thomas, 263 F.3d 805 (8th Cir. 2001) (upholding a warrant which

 contained an incorrect address because the officer “who had personal knowledge of the

 location to be searched, both obtained and executed the warrant, but also by the fact that

 the intended location was under surveillance while he secured the warrant.”)

       Here, TFO Lanham personally identified the residence at 4223 West Sacramento.

 On July 21, 2015 -- two weeks before the affidavit was presented to Judge Noce -- officers

 working with TFO Lanham traveled with CW to identify the residence at 4223 West

 Sacramento. Following that identification, TFO Lanham visually reconfirmed the location

 of the relevant residence to be searched at 4223 West Sacramento. Moreover, TFO Lanham

 possessed the search warrant along with the photograph of 4223 West Sacramento attached

 to the warrant which further ensured that TFO Lanham was executing the warrant on the

 correct address he had previously surveyed. Likewise, the officers who traveled with CW

 to identify the residence at 4223 West Sacramento were part of the search warrant’s

 execution team who similarly ensured that TFO Lanham was executing the search warrant

 at the correct address. TFO Lanham’s reliance on the warrant was objectively reasonable.

        Defendant asserts that United States v. Herron, 215 F.3d 812 (8th Cir. 2000), is

 analogous to Defendant’s case. It isn’t. Defendant’s argument ignores critical differences

 between Defendant’s case and the conduct in Herron. In Herron, the United States

 conceded that the search warrant was not supported by probable cause. The warrant

 articulated probable cause to search a premise for controlled substance but contained no

 probable cause that any evidence would be found at Herron’s residence. Id. at 813. In fact,

 the Herron Court rejected the good faith argument. The Court noted that the affidavit did

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 not provide any evidence of illegal activity at Herron’s residence and a reasonable officer

 could not believe the facts established probable cause to search the residence. The Court

 also explained that, “[t]he problem is not a technical legal deficiency; the affidavits simply

 do not say very much about Mr. Herron or his residence.” The issue in Herron was not a

 mistake in the warrant; it was a lack of probable cause for the warrant. No such problem

 exists here because officers had ample probable cause to search 4223 West Sacramento.

 Thus, Herron is not applicable and provides Defendant no basis for relief.

               3.     Officers did not deliberately disregard Federal Rule of Criminal
                      Procedure 41, and Defendant was not prejudiced by a delay in
                      the search warrant’s return.

        Federal Rule of Criminal Procedure 41(e)(2)(A)(i) provides that a search warrant

 must be executed “within a specified time no longer than 14 days.” Rule 41(f)(1)(D)

 requires that the warrant and a copy of the inventory of seized items must be returned

 promptly to the issuing judge.        Noncompliance with Rule 41 however, does not

 automatically require evidence to be suppressed. United States v. Schoenheit, 856 F.2d 74

 (8th Cir. 1988). Suppression of evidence is proper only where “(1) ‘there was prejudice in

 the sense that the search might not have occurred or would not have been so abrasive if the

 Rule had been followed,’ or (2) ‘there is evidence of intentional or deliberate disregard of

 a provision in the rule.’” United States v. Burgard, 551 F.2d 190, 193 (8th Cir. 1977)

 (quoting United States v. Burke, 517 F.2d 377, 386-87 (2d Cir. 1975)). Defendant argues

 that the warrant was not returned until October 19, 2015, which was ten weeks after

 execution. There is no evidence -- and Defendant has not identified any -- that the officers



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 intentionally or deliberately disregarded Rule 41 or that the delayed return has prejudiced

 Defendant in any way.

        Defendant is entitled to no relief because of the delay in the search warrant’s return.

 In United States. v. Anderson, 851 F.2d 384, 390 (D.C. Cir. 1988), the court held that

 “technical defects in [a] … warrant d[o] not implicate in any way the essential requirements

 for a valid federal search warrant.”       A failure to comply with Rule 41 does not

 automatically justify exclusion of evidence absent a showing of prejudice or evidence of

 intentional and deliberate disregard of the rule. See Schoenheit, 856 F.2d at 77.

        Additionally, in United States v. Beckmann, 786 F.3d 672 (8th Cir. 2015), officers

 executed a search warrant in 2011 but did not return the warrant until 2013. The Court

 held that the two-year delay did not justify exclusion of evidence because there was no

 reckless disregard for proper procedure. The Court noted that the trial court found the

 delay was due to inadvertence as opposed to a deliberate and intentional disregard for the

 rules. Further, the defendant did not argue sufficient prejudice to justify the exclusion of

 evidence. Id. at 681; see also United States v. Barnes, 2019 WL 2353659 (D. Minn. June

 4, 2019).

        To determine prejudice, a court must determine “whether the search would have

 occurred had the rule been followed. If so, there is no prejudice to the defendant.” United

 States v. Hyten, 5 F.3d 1154, 1157 (8th Cir. 1993). There is no question the search of 4223

 West Sacramento, as well as 4217 East Sacramento discussed below, would have occurred.

 Defendant cannot demonstrate that the delay in the return prejudiced him in any way. The

 return detailed all of the evidence seized from 4223 West Sacramento. The delay in return

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 does not affect Defendant’s knowledge of what was seized. It also does not affect

 Defendant’s ability to challenge the seizure of those items. Testimony at the evidentiary

 hearing will establish that there was no intentional, deliberate, or reckless disregard of Rule

 41. The return delay was not unreasonable, and Defendant has not been prejudiced by the

 delay. Therefore, Defendant’s motion should be denied.

               4.     The 4223 West Sacramento and 4217 East Sacramento search
                      warrant affidavits were not stale, and there was a fair probability
                      that evidence of a crime would be found at each residence.

                      (a)     The affidavits contained sufficient probable cause.

      The Fourth Amendment requires that a neutral and detached judicial officer determine

 whether law enforcement officers have probable cause to conduct a search. Warden v.

 Hayden, 387 U.S. 294, 301-02 (1967). Probable cause is the level of suspicion required to

 justify certain governmental intrusions upon interests protected by the Fourth Amendment.

 Wong Sun v. United States, 371 U.S. 471, 479 (1963). The issuing judge's task is “simply

 to make a practical, common-sense decision whether, given all the circumstances set forth

 in the affidavit ... there is a fair probability that contraband or evidence of a crime will be

 found in a particular place.” United States v. Oropesa, 316 F.3d 762, 766 (8th Cir. 2003)

 (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)); see also United States v. Terry, 305

 F.3d 818, 822 (8th Cir. 2002) (when the affidavit supporting the search warrant sets forth

 facts sufficient to create a fair probability that evidence of a crime will be found in the

 place to be searched, probable cause exists).

      “Whether a warrant is supported by probable cause is a legal determination and is

 based on whether the warrant is supported by facts that would justify a prudent person in

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 the belief that there is a fair probability that contraband or evidence of a crime will be found

 in a particular place.” United States v. Thurmond, 782 F.3d 1042 (8th Cir. 2015) (internal

 quotations omitted). Once a judicial officer has issued a warrant based upon a finding of

 probable cause, that finding deserves great deference if there is a substantial basis for the

 finding. Gates, 462 U.S. at 236; United States v. Kattaria, 553 F.3d 1171, 1175 (8th Cir.

 2009); United States v. Hudspeth, 525 F.3d 667, 674 (8th Cir. 2008). This Court's duty “is

 simply to ensure that the magistrate had a substantial basis for concluding that probable

 cause existed.” United States v. Keele, 589 F.3d 940, 943 (8th Cir. 2009). “Probable cause

 requires only a showing of fair probability, not hard certainties.” Hudspeth, 525 F.3d at

 676. In Hudspeth, the defendant challenged search warrants and argued the warrants were

 not supported by probable cause. Id. The Court rejected the challenge and concluded that

 the affidavits demonstrated “a fair probability of finding evidence of a crime.” Id. The

 Court used a “common-sense approach” and noted that probable cause is determined by

 considering the totality of the circumstances. Id.

        The search warrant affidavits for 4223 West Sacramento and 4217 East Sacramento

 demonstrate on their faces that Defendant’s attack within the four corners is meritless.3


 3
        The determination of whether there is probable cause to support a search warrant is
 determined solely from a review of the four corners of the affidavit. United States v.
 Solomon, 432 F.3d 824, 827 (8th Cir. 2005); United States v. Etheridge, 165 F.3d 655, 656
 (8th Cir.1999); United States v. Wells, 347 F.3d 280, 286 (8th Cir.2004); United States v.
 Gladney, No. 4:18CR320 AGF (PLC), 2019 WL 3955815, at *3 (E.D. Mo. Aug. 22, 2019);
 United States v. Fisher, No. 4:19CR80 CDP (SPM), 2019 WL 7708530, at *8 (E.D. Mo.
 Oct. 9, 2019), report and recommendation adopted, No. 4:19 CR 80 CDP, 2019 WL
 5884437 (E.D. Mo. Nov. 12, 2019); United States v. Massey, No. 4:09CR506-DJS, 2009
 WL 3762322, at *12 (E.D. Mo. Nov. 10, 2009). Therefore, no additional information or
 evidence will be presented to the Court on the probable cause issues raised by Defendant
 beyond what is contained in the search warrant documentation submitted herewith.
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 These search warrant affidavits were supported by ample probable cause, signed by a

 judge, and clearly not facially deficient. Furthermore, even absent probable cause (which

 the United States contends was clearly established), any evidence obtained as a result of

 the search warrants would be protected by the good faith exception to the exclusionary rule

 under Leon.

      The affidavits for 4223 West Sacramento and 4217 East Sacramento detailed the

 investigation into Defendant for violations of 21 United States Code, Section 841 and 18

 United States Code, Sections 924(c) and 924(j) dating back to as early as 2013 (see Exhs.

 1, 2). Specifically, both warrants set out how Defendant used the property at 4223 West

 Sacramento to store narcotics, firearms, money, and packaging for the distribution of

 narcotics. Further, they explain how he used the garage at 4217 East Sacramento to store

 vehicles, firearms, and clothing used to conceal his identity.

      The affidavits detail information provided by CW. On June 22, July 21, and July 30,

 2015, officers met with CW who was an associate of Defendant. CW advised officers that

 he had supplied narcotics to Defendant and participated in shootings and murders with

 Defendant over multiple years. CW described how Defendant’s drug distribution worked

 and identified the residence of 4223 West Sacramento as a location where Defendant

 distributed drugs and possessed firearms. CW was able to provide specific details about

 the layout of the residence, including a basement area where Defendant counted money on

 a pool table. CW explained that Defendant regularly kept narcotics, narcotics-related




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 items, firearms, and currency inside the residence. CW also described the garage at 4217

 East Sacramento and advised officers that Defendant stored vehicles he utilized in murders

 within the garage. Further, Defendant also stored firearms, masks, and gloves in that

 garage.

      In the affidavits, CW provided specific details about shootings and murders that

 Defendant committed. First, CW provided information about the June 25, 2013, murder

 of Anthony Clark. CW advised that Defendant and “D” utilized an Audi vehicle to commit

 this murder. He identified an AK-47 as the weapon Defendant used to murder Clark.

 Officers seized shell casings from the scene of Clark’s murder which were consistent with

 being fired from an AK-47 rifle. Following the murder, CW had an opportunity to use the

 Audi which had been painted a different color and secured at a separate location to avoid

 detection.

      Second, CW offered details about the December 29, 2013 murders of Robert Parker

 and Clara Walker. CW was present for these murders and explained that he and Defendant

 went to the garage at 4217 East Sacramento in preparation for committing the murders.

 Defendant and CW retrieved masks and gloves and entered into an Infiniti vehicle that was

 stored in the garage. Defendant and CW were armed with an AR rifle and AK rifle. They

 located Parker and began shooting at him. They returned the vehicle to the garage after

 the murders and left the firearms inside the garage. From shell casings retrieved at the

 location of the Parker and Walker murders, officers were able to confirm that an AR-style

 firearm was utilized.



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      Third, CW provided information about the January 21, 2014 murder of Michail

 Gridiron. CW explained that he and Defendant retrieved the Infiniti vehicle from the

 garage at 4217 East Sacramento and drove it to Gridiron’s residence. Defendant and CW

 used an AK-47 and AR-15 rifle to shoot Gridiron and another individual. They then fled

 the scene and returned the Infiniti to the garage at 4217 East Sacramento. From shell

 casings retrieved at the location of Gridiron’s murder, officers were able to confirm that an

 AR-style firearm was utilized.

      Finally, CW reported details about the March 5, 2014, murder of Dion Stovall.

 Defendant advised CW that he and “Tone Bone” murdered Stovall. Once again, Defendant

 utilized the Infiniti vehicle during the shooting. CW believed that the Audi and Infiniti

 vehicles were being held by an individual named “Vince” whom officers were able to

 associate with properties located in the 4200 block of East Margaretta. Based upon CW’s

 confirmed information, officers drove to the 4200 block of East Margaretta and observed

 vehicles consistent in appearance with the Infiniti and Audi described by CW.

      The affidavits further set out the training, knowledge, and experience of TFO

 Lanham, including his knowledge and experience in firearms and drug trafficking

 investigations. Specifically, the affidavits explain how individuals retain firearms. If a

 firearm has been used in the commission of a crime, an individual is more likely to maintain

 possession of that firearm in a secure location, such as a residence. Further, the affidavits

 detail characteristics of drug trafficking organizations and how drug traffickers secrete

 contraband, proceeds, and records in locations which they control. These individuals also

 keep drug packaging material, records, photographs, and firearms in their residence.

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        The affidavits clearly provided a substantial basis to conclude that both the

 residence at 4223 West Sacramento and garage at 4217 East Sacramento had been sued for

 years and were continuing to be used in connection with federal crimes and there was a fair

 probability that evidence of those crimes would be found in the locations requested by the

 search warrants. Consequently, the court had a “‘substantial basis for…conclud[ing]’ that

 probable cause existed” that evidence of the subject offenses would be obtained from the

 issuance of the search warrant. Gates, 462 U.S. at 238-39 (citing Jones v. United States,

 362 U.S. 257, 271 (1960) (overruled on other grounds)).

                      (b)    The information in the affidavits was not stale.

        Defendant argues that the search warrants lacked probable cause because the

 information provided in the affidavits was stale.        There is no specific formula for

 determining when information has become stale. United States v. Summage, 481 F.3d

 1075, 1078 (8th Cir. 2008); United States v. Gleick, 397 F.3d 608, 613 (8th Cir. 2005).

 “The timeliness of the information supplied in an affidavit depends on the circumstances

 of the case, including the nature of the crime under investigation; the lapse of time is least

 important when the suspected criminal activity is continuing in nature and when the

 property is not likely to be destroyed or dissipated.” United States v. Horn, 187 F.3d 781,

 786 (8th Cir. 1999); see also United States v. Morrison, 594 F.3d 626, 631 (8th Cir. 2010)

 (where continuing criminal activity is suspected, the passage of time is less significant in

 determination of whether information supporting a search warrant is stale); United States

 v. Lemon, 590 F.3d 612, 614 (8th Cir. 2010) (lapse of time is least important when

 suspected criminal activity is continuing in nature and when the property is not likely to be

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 destroyed). “[T]here is no bright-line test for determining when information is stale ... and

 the vitality of probable cause cannot be quantified by simply counting the number of days

 between the occurrence of the facts supplied and the issuance of the affidavit.” United

 States v. Tyler, 238 F.3d 1036, 1039 (8th Cir. 2001) (quoting United States v. Koelling, 922

 F.2d 817, 822 (8th Cir. 1993)).

        In United States v. Lopez-Tubac, 943 F. 3d 1156, 1159-60 (8th Cir. 2019), the

 Eighth Circuit reaffirmed its view of “staleness” as it relates to search warrants:

               As we have indicated before in the context of search warrant
               applications, “[t]here is no bright-line test for determining
               when information ... is stale,” United States v. Johnson, 848
               F.3d 872, 877 (8th Cir. 2017) (quoting United States v. Lemon,
               590 F.3d 612, 614 (8th Cir. 2010)), but given the nature of the
               information, we do not think the two-month gap between the
               last sighting of the suspect’s vehicle and Lopez-Tubac’s arrest
               was sufficient to dissipate Callison’s reasonable suspicion that
               the suspect lived at the residence, see, e.g., Lemon, 590 F.3d at
               614-15 (holding that information was not stale despite an
               eighteen-month gap between defendant’s last known criminal
               act at his apartment and the police’s application for a warrant
               to search the premises). 943 F. 3d at 1159-60.

        Firearms cases particularly withstand staleness challenges to search warrants

 because possession of firearms in furtherance of drug trafficking and otherwise are

 continuing offenses. United States v. Maxim, 55 F.3d 394 (8th Cir. 1995), cert. denied 516

 U.S. 903 (1995) (holding information three years old may supply probable cause for a

 warrant to search the home of someone suspected of illegal possession of a firearm, because

 possession is a continuing offense, and because firearm enthusiasts tend to keep their

 weapons for long periods of time.)


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        In Maxim, the defendant challenged a warrant which authorized officers to search

 his residence for firearms and ammunition and argued that the information was stale

 because it was three years old. The Court rejected the defendant’s argument and held that

 the information contained in the warrant was not stale. The Court noted that the lapse of

 time was not always the controlling factor. Instead, other factors must be considered

 including the nature of the criminal activity involved and the kind of property subject to

 the search. Id. at 397. The Court explained that firearms offenses are continuing offenses.

 Additionally, the Court found that the affidavit was supported by the affiant’s statement

 that based on his experience, firearm enthusiasts tended to hold onto their firearms for long

 periods of time. Therefore, the totality of the circumstances demonstrated that there were

 sufficient facts to establish an objectively reasonable belief that probable cause existed to

 search the residence. Id.

        Defendant’s case is analogous to Maxim. Here, the affidavits detailed the ongoing

 firearms offenses in furtherance of drug trafficking and the commission of violent acts by

 Defendant with firearms.4 The affidavits contained TFO Lanham’s statement that, in cases

 where firearms are used in the commission of crimes, an individual is more likely to

 maintain possession of that firearm in a secure location, such as a residence. Moreover,



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         Throughout his suppression motion, Defendant challenges the officers’ actions and
 the existence of probable cause on the ground that Defendant was not a previously
 convicted felon and, on that basis alone, any firearm possession by Defendant was legal.
 Not so. As the indictment makes clear, the possession of a firearm in furtherance of drug
 trafficking by anyone -- regardless of criminal history -- is illegal, making a firearm or
 firearm-related items evidence of a crime (see Doc. # 2; see also 18 U.S.C. § 924(c)); so is
 using a firearm to intentionally murder another person (see Doc. # 2; see also 18 U.S.C. §
 924(j)).
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 CW provided officers with information that Defendant would return these firearms to the

 garage.

        Defendant argues that the probable cause for the search warrants is stale because

 CW had been confined for a period of months and thus did not have knowledge that the

 properties were still being used in the commission of the offenses. Defendant’s arguments

 are without merit and belied by the affidavits.

        First, CW’s confinement does not disturb the continuing nature of the offenses,

 namely, Defendant’s possession of firearms in furtherance of drug trafficking activity and

 the use of those firearms to commit violent acts, including murder over multiple years.

 Critically, Defendant ignores the holding in Mathis which clearly establishes that prior

 information may supply probable cause for a warrant because firearm possession in

 furtherance of drug trafficking is a continuing offense and individuals tend to retain

 firearms. As support for his position, Defendant relies on United States v. Kennedy, 427

 F.3d 1136 (8th Cir. 2006). Kennedy is easily distinguishable from Defendant’s case. In

 Kennedy, the Court found that information provided by an individual who reported a

 defendant had dealt in methamphetamine was stale. Critical to the Court’s finding was that

 the individual who had provided information to officers gave no specific time frame for

 her knowledge. Id. at 1141. The Court also found notable that the defendant was not the

 subject of an on-going narcotics investigation. Id. at 1142.

        These two concerns for the Kennedy court are nowhere to be found in Defendant’s

 case. First, CW provided a time frame for his knowledge. One week before the search

 warrant was signed, CW provided details to officers, including details about murders which

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 occurred in 2013 and 2014. CW gave sufficient details about each incident and when those

 incidents occurred. Additionally, CW advised officers the manner in which his and

 Defendant’s drug distribution worked and that “Defendant utilizes [4223 West

 Sacramento] for drug distribution and firearm possession purposes” and “regularly” keeps

 narcotics, narcotics-related items, firearms, ammunition, and currency in this residence

 (Exh. 1 at Affidavit (Aff.) p. 3). Likewise, CW observed vehicles Defendant had utilized

 in the murders stored within the 4217 East Sacramento garage. Further, he had seen

 Defendant store firearms, masks, and gloves in that garage.

        Second, unlike the facts presented in Kennedy, Defendant was the subject of an on-

 going investigation.     The affidavits for both 4223 West Sacramento and 4217 East

 Sacramento state that Defendant has been “under investigation by federal and state-level

 since as early as 2013 and had been identified as [a] multi-kilogram heroin distributor”

 (Exh. 1 at Aff. p. 1; Exh. 2 at Aff. p. 1). The affidavits present the investigation as an

 “active and on-going” investigation in which officers received information connecting

 Defendant to drug-related murders (Id.). Additionally, the affidavits identify CW as a

 long-term associate of Defendant’s. The affidavits state that CW explained, “Defendant

 distributes multiple-kilogram quantities of cocaine and heroin.” Further, CW described the

 way the drug distribution conspiracy worked and noted that Defendant utilized the

 residence to regularly store evidence connected to drug distribution.

                        (c)   CW’s information in the affidavits was corroborated.

        Additionally, Defendant asserts that the information provided by CW was not

 corroborated. This statement is belied by information provided in both the affidavits for

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 4223 West Sacramento and 4217 East Sacramento. As a preliminary matter, probable

 cause may be found from statements made by reliable persons, Gates, 462 U.S. at 245;

 statements made by confidential informants corroborated by independent investigation,

 Draper v. United States, 358 U.S. 307, 313 (1959); or in observations made by trained law

 enforcement officers, McDonald v. United States, 335 U.S. 451, 454 (1948). These

 methods of establishing probable cause, however, are by no means all-inclusive.

        “Where probable cause depends upon information supplied by an informant, ‘[t]he

 core question … is whether the information is reliable.’” United States v. Keys, 721 F.3d

 512, 518 (8th Cir. 2013) (quoting United States v. Williams, 10 F.3d 590, 593 (8th Cir.

 1993)). In United States v. Faulkner, the Court noted that while the reliability, veracity,

 and basis of knowledge of a confidential informant are relevant considerations for the

 judge, “‘they are not independent essential elements in determining probable cause.’” 826

 F.3d 1139, 1144 (8th Cir. 2016) (quoting United States v. Recivich, 793 F.2d 957, 959 (8th

 Cir. 1986)). Like Defendant, Faulkner argued that the confidential informant’s information

 was stale. The Court found Faulkner’s claim of staleness to be meritless because the

 confidential informant’s information about Faulkner's whereabouts and activities had been

 corroborated by officers at the time application for the residence and vehicle search

 warrants was made. Id.

        Moreover, “it is well established that even the corroboration of minor, innocent

 details can be sufficient to establish probable cause.” Keys, 721 F.3d at 518. And, when a

 confidential informant offers particularized information to the police in person, the officers

 receiving that information have the ability to further assess the informant’s credibility. See

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 United States v. Braden, 844 F.3d 794, 799 (8th Cir. 2016) (citing Solomon, 432 F.3d at

 827-28).

       Here, CW’s information was repeatedly corroborated in connection with these

 warrants and throughout the entirety of the on-going investigation into Defendant. As

 discussed above, CW was able to provide specific details about weapons that he,

 Defendant, and other associates used to commit murders.           CW’s information was

 corroborated by the physical ballistic evidence seized from those multiple murder scenes.

 CW also provided information about the vehicles used in murders which was corroborated

 by officers. For example, CW reported that Defendant and “D” utilized an Audi vehicle to

 commit the murder of Anthony Clark. Video surveillance of the homicide captured a light

 colored, four door Audi. CW identified an Infiniti vehicle which was also used in several

 murders. Officers were able to corroborate that these vehicles existed and identify where

 those vehicles were likely stored based upon CW’s statements. Consistent with Braden

 and Keys, officers had particularized information and were able to corroborate details

 provided by CW which were sufficient to establish probable cause.

              5.     Officers executing the 4223 West Sacramento and 4217 East
                     Sacramento search warrants acted in good faith.

       Any evidence obtained as a result of the search warrants is equally protected by the

 good faith exception to the exclusionary rule. It has long been established that when

 officers, acting in good faith, rely upon a search warrant issued by a detached and neutral

 magistrate that turns out to be lacking in probable cause or contained some other technical

 defect, the evidence need not be excluded. Leon, 468 U.S. 897; Sheppard, 468 U.S. 981.


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 “Under the good-faith exception, evidence seized pursuant to a search warrant later

 determined to be invalid, will not be suppressed if the executing officer’s reliance upon the

 warrant was objectively reasonable.” Jackson, 784 F.3d at 1231. This “good-faith inquiry

 is confined to the objectively ascertainable question of whether a reasonably well-trained

 officer would have known that the search was illegal despite the” court’s authorization of

 the warrant. Clay, 646 F.3d at 1127.

        In determining the presence of good-faith reliance on a judge issued search warrant,

 the reviewing court must consider the totality of the circumstances, including information

 not presented to the judge issuing the search warrant but known to the police officers.

 Jackson, 784 F.3d at 1231. See also United States v. Hager, 710 F.3d 830, 837 (8th Cir.

 2013); United States v. Rodriguez, 484 F.3d 1006, 1012 (8th Cir. 2007) (officer’s

 knowledge of facts beyond those presented in the search warrant justified reliance on a

 defective warrant). As stated earlier, Jackson outlines four situations in which the good-

 faith exception would not apply. Defendant cannot establish that any of situations outlined

 in Jackson are present here.

        Judge Noce was not misled by false information; there was no evidence that Judge

 Noce abandoned his judicial role; the affidavits contained sufficient indicia of probable

 cause that official belief in their existence was entirely reasonable; and the warrants were

 not facially deficient. Therefore, even if the affidavits were insufficient to establish

 probable cause, the evidence seized as a result of the search warrants should not be

 suppressed pursuant to the good faith exception to the exclusionary rule.



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 II.    64 BRIGHTON PARK DRIVE

        A.     Relevant Facts

               1.     August 26, 2015, federal indictment

        On August 26, 2015, a federal grand jury returned a three-count indictment against

 Defendant (Doc. # 2). In it, Defendant was charged with conspiracy to possess with the

 intent to distribute cocaine in violation of Title 21, United States Code, Sections 846 and

 841; discharge of a firearm in furtherance of drug trafficking resulting in the December 29,

 2013, deaths of victims Robert Parker and Clara Walker in violation of Title 18, United

 States Code Sections 2 and 924(j); and discharge of a firearm in furtherance of drug

 trafficking resulting in the January 21, 2014, death of Michail Gridiron in violation of Title

 18, United States Code Sections 2 and 924(j) (Id.).

        As to the drug conspiracy, Defendant was subject to a maximum possible penalty

 of 20 years’ imprisonment. As to the murder charges, Defendant was subject to a

 maximum possible penalty of death. A federal warrant for Defendant’s arrest was issued

 (see 4:15 CR 404 HEA, 08/26/2015 docket entry: “Warrant Issued as to Indictment in case

 as to Anthony Defendant. (DLB)”).

               2.     Defendant’s August 27, 2015, arrest

        On August 27, 2015, officers conducted surveillance of a residence associated with

 Defendant located at 64 Brighton Park in Saint Charles, Missouri for purposes of

 effectuating the valid federal arrest warrant. Beginning at approximately 9:45 a.m.,

 Defendant exited 64 Brighton Park through its front door and entered the garage. True and

 accurate portions of relevant surveillance video of 64 Brighton Park are submitted herewith

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 as Exhibit 4 and incorporated herein by this reference. Among other things, Defendant

 entered the driver’s side of a green Pontiac Grand Prix that was located within the garage.

 Defendant backed his Grand Prix from the garage and parked it on the 64 Brighton Park

 driveway (Exh. 4-A).       Defendant re-entered 64 Brighton Park (Id.).            Between

 approximately 9:47 and 9:50 a.m., Defendant twice exited the residence, placed items

 inside the Grand Prix, and reentered the residence (Id.).

        At approximately 9:55 a.m., officers secured the perimeter of the 64 Brighton Park

 residence based upon their knowledge that Defendant was inside of it (Exh. 4-B). Officers

 utilized an audible speaker system to communicate with Defendant and inform Defendant

 that there was a federal warrant for his arrest (Id.). Officers ordered Defendant to exit 64

 Brighton Park and surrender. Defendant refused to exit 64 Brighton Park over the next

 approximately 31 minutes. As a result, officers initiated direct contact with Defendant’s

 defense counsel, Scott Rosenblum. Mr. Rosenblum advised officers that Defendant would

 not surrender until a family member arrived at 64 Brighton Park. Additionally, Mr.

 Rosenblum advised officers that two children were present with Defendant inside 64

 Brighton Park.

        At approximately 10:26 a.m., Defendant exited 64 Brighton Park through the front

 door and surrendered to officers (Exh. 4-C). Defendant was detained and arrested pursuant

 to the federal warrant (Id.). Once Defendant was arrested, officers retreated to more

 protected areas (see Id.). Defendant was asked if anyone else was located within 64

 Brighton Park. Defendant advised that his two small children, including a five-month-old,

 remained inside 64 Brighton Park. At approximately 10:28 a.m., a small child exited 64

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 Brighton Park (Id.). The child was brought to a safe area by an officer (Id.). Defendant

 advised officers that the five-month-old was the only remaining occupant inside 64

 Brighton Park. Defendant also stated that, prior to surrendering, Defendant telephoned a

 female associate and requested that she travel to 64 Brighton Park to take custody of the

 two children. Defendant was also asked if there were any items such as weapons or

 contraband present inside 64 Brighton Park that could harm officers. Defendant identified

 three loaded handguns within the middle dresser drawer in his bedroom and more

 specifically described the firearm as two .45 caliber and one F&N 5.7 caliber handguns.

        Despite Defendant’s arrest and contact made with the small child, officers remained

 in a protective posture behind vehicles and focused on the residence (Id.). For security and

 safety purposes, six officers entered 64 Brighton Park at approximately 10:28 a.m. in

 formation behind a ballistic shield (Id.). The baby was located and promptly brought

 outside the residence less than a minute after entry (Id.). With the second child secure,

 three additional officers entered the residence to assist with the protective sweep (Id.).

 Between approximately 10:28 and 10:36 a.m. -- roughly eight minutes -- officers remained

 in a protective formation and were able to examine places where a person could be hiding

 within the four bedrooms, multiple bathrooms, and basement contained within 64 Brighton

 Park’s 3,186 square feet (Exh. 4-D; see also www.zillow.com/homes/64-brighton-park-

 drive-st-charles,-mo_rb/81428547_zpid/). The protective sweep was confined to places

 large enough to hide a person and did not involve a search for items of evidentiary value.

 Those officers still outside the residence remained positioned behind vehicles for continued

 protective cover (see Exhs. 4-C, 4-D).

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        Shortly after approximately 10:36 a.m., the majority of the protective sweep team

 had exited the residence and officers stationed outside the residence moved from behind

 their protected positions (Id.). However, a small sub-set of the protective sweep team

 remained inside the residence adjacent to the closed attic space for purposes of ensuring

 that no person exited the attic space while observation equipment was being obtained to

 permit officers to confirm that no person or persons were hiding in the attic.             At

 approximately 11:21 a.m., observation equipment was received and brought into 64

 Brighton Park (Exh. 4-F). A visual observation of the attic was made utilizing the

 equipment. No person was located. At approximately 11:28 a.m. -- roughly seven minutes

 after the equipment arrived -- all remaining members of the protective sweep team exited

 the residence, and 64 Brighton Park was empty (Id.).

        As officers were awaiting the attic observation equipment, Defendant’s female

 associate arrived sometime before 11:15 a.m. to take custody of the two children. Upon

 her arrival, she requested officers’ assistance in retrieving items from within the Grand Prix

 and residence. Items were retrieved by officers at her request from inside the vehicle and

 residence between approximately 11:15 and 11:21 a.m. (Exhs. 4-E, 4-F).

        No other items were seized while officers were inside 64 Brighton Park conducting

 the protective sweep. Following the security sweep, multiple officers remained outside 64

 Brighton Park while application for a federal search warrant directed to the residence was

 obtained (see Exhs. 4-G, 4-H).




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               3.     August 27, 2015 warrant to search 64 Brighton Park

        Following Defendant’s arrest, Federal Bureau of Investigation Special Agent

 Brandon Burke (SA Burke) applied for a federal warrant authorizing the search of 64

 Brighton Park.     A true and accurate copy of the 64 Brighton Park search warrant

 documentation is submitted herewith as Exhibit 5 and incorporated herein by this

 reference.   The affidavit explained the drug trafficking and firearm possession in

 furtherance of drug trafficking resulting in death charges against Defendant. It described

 the 64 Brighton Park location (and provided photographs) and the events surrounding

 Defendant’s arrest that had occurred earlier that morning.

        More specifically, the affidavit noted Defendant’s statement that three firearms were

 located inside 64 Brighton Park. Although the affidavit noted that officers conducted a

 protective sweep of 64 Brighton Park, nothing observed during the sweep was relied upon

 in the affidavit.5 The affidavit also summarized information received from CW about

 Defendant’s criminal activities, including, but not limited to, Defendant’s use of firearms

 in furtherance of Defendant’s drug trafficking. To that end, the affidavit provided detailed

 information about the practices of drug traffickers, their use of firearms and the connection

 between firearms and other items to drug trafficking. As a result, the affidavit stated that,

 among other things, the firearms identified by Defendant inside 64 Brighton Park were

 “evidence of violations of the possession, use, and/or discharge of a firearm in furtherance


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        Defendant’s argument that the search warrant directed to and search of 64 Brighton
 Place represent fruit of the poisonous tree as a result of the protective sweep must fail
 because nothing observed during the protective sweep was relied upon in connection with
 the search warrant’s issuance and nothing of evidentiary value was seized during the
 protective sweep.
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 of drug trafficking offenses” and that “controlled substances, drug proceeds…documents

 evidencing participation in drug trafficking…firearm(s), documentation of residency and

 ownership…” would likely be found within 64 Brighton Park (Exh. 5 at Aff. pp. 3, 5).

 Lastly, the affidavit noted that 64 Brighton Park had been secured by officers pending

 application of the search warrant.

        Based upon the information contained in the application, Magistrate Judge Nolle C.

 Collins issued a search warrant at approximately 2:47 p.m. on August 27, 2015. Entry into

 64 Brighton Park pursuant to the search warrant began at approximately 3:09 p.m. (see

 Exhs. 4-G, 4-H). Evidence was seized, including, among other things, multiple mobile

 phones; digital cameras; two . 45 caliber firearms and loaded magazines; a 5.7 caliber

 firearm and loaded magazine; a Sig Sauer firearm; a .380 caliber loaded magazine; holster;

 laser sight; and DVR recording system. The return was filed with the court on or about

 September 3, 2015.

        B.     Opposition

               1.     The protective security sweep of 64 Brighton Park was
                      appropriate and not overbroad.

        Under the Fourth Amendment, the search of a residence is generally unreasonable

 “without a warrant issued on probable cause.” Maryland v. Buie, 494 U.S. 325, 331 (1990).

 An exception to the general warrant requirement of the Fourth Amendment is the protective

 sweep. See United States v. Waters, 883 F.3d 1022, 1026 (8th Cir. 2018). “A ‘protective

 sweep’ is a quick and limited search of premises, incident to an arrest and conducted to

 protect the safety of police officers or others. It is narrowly confined to a cursory visual


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 inspection of those places in which a person might be hiding.” Id. at 327. A protective

 sweep must be supported by “a reasonable belief based on specific and articulable facts

 that the area to be swept harbors an individual posing a danger to those on the arrest scene.”

 Id. at 337.

         The Eighth Circuit has recognized the importance of officers' safety when

 conducting a home arrest. See Waters, 883 F.3d at 1026 (citing United States v. Alatorre,

 863 F.3d 810, 814 (8th Cir. 2017)). “Protective sweeps in these circumstances are justified

 because officers are vulnerable during an arrest at a home, even when the arrestee and other

 occupants have been secured ....” Id.; see also United States v. Davis, 471 F.3d 938, 944

 (8th Cir. 2006) (“A protective sweep is justified by the threat of accomplices launching a

 surprise attack during an arrest and is particularly important during an in-home arrest, due

 to the heightened potential for an ambush in unfamiliar surroundings.”). As explained by

 Buie:

               [T]here is an ... interest of the officers in taking steps to assure
               themselves that the house in which a suspect ... has just been ...
               arrested is not harboring other persons who are dangerous and
               who could unexpectedly launch an attack. The risk of danger
               in the context of an arrest in the home is as great as, if not
               greater than, it is in an on-the-street or roadside investigatory
               encounter.... A protective sweep ... occurs as an adjunct to the
               serious step of taking a person into custody for the purpose of
               prosecuting him for a crime. Moreover, unlike an encounter on
               the street or along a highway, an in-home arrest puts the officer
               at the disadvantage of being on his adversary’s “turf.” An
               ambush in a confined setting of an unknown configuration is
               more to be feared than it is in open, more familiar
               surroundings. Id.




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        The inquiry as to the reasonableness and validity of a protective sweep is necessarily

 fact-specific.” Alatorre, 863 F.3d at 814 (citing United States v. Thompson, 842 F.3d 1002,

 1009 (7th Cir. 2016)). Defendant contends that the officers’ protective sweep of 64

 Brighton Park was overbroad because Defendant “was arrested outside of his residence…”

 and “the officers were unaware of any facts that would give rise to a reasonable suspicion

 that dangerous individuals were in the house ‘ready to launch an attack’” (Doc. # 3212 ¶¶

 45, 47-48). Here, the protective sweep of the residence was justified.

                      (a)    A protective sweep of a residence after an outside arrest is
                             lawful.

        First, protective sweeps of a residence after an arrest occurs outside of the residence

 are proper. Alatorre, 863 F.3d at 813 (citing United States v. Cavely, 318 F.3d 987, 995-

 96 (10th Cir. 2003) (finding that officers executing an arrest warrant outside the back door

 of the defendant’s house were justified in making a protective sweep of his house); United

 States v. Hoyos, 892 F.2d 1387, 1396-97 (9th Cir. 1989) (finding that narcotics officers

 were justified in making a protective sweep of defendant’s residence after arresting him

 outside) (overruled on other grounds by United States v. Ruiz, 257 F.3d 1030, 1032 (9th

 Cir. 2001) (en banc)). Use of the term “in-home” arrest is not limited to only those arrests

 which occur inside a residence, but instead includes those arrests occurring at or near an

 entry to the residence. See United States v. Pile, 820 F.3d 314, 317 (8th Cir. 2016) (“Pile

 misreads Buie’s ‘in-home arrest’ language. See [Buie, 494 U.S. at 337]. To be sure, the

 arrest in Buie occurred inside of a home. But the rationale supporting the Court's

 recognition of the protective sweep—safety of police officers and others—may extend


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 beyond a home's four walls, depending on the facts.”); see also Cavely, 318 F.3d at 995-

 96; United States v. Banks, 884 F.3d 998, 1015 (8th Cir. 2018).6

        The Eighth Circuit has also found a protective sweep valid even though the

 defendant “had already been handcuffed and taken to [another area]” before the sweep

 occurred. Waters, 883 F.3d at 1026 (citing Alatorre, 863 F.3d at 814 and United States v.

 Boyd, 180 F.3d 967, 975 (8th Cir. 1999)); United States v. Ford, 888 F.3d 922, 928 (8th

 Cir. 2018) (“Justification for a preventive sweep does not automatically end when a suspect

 is arrested.”). The Eighth Circuit has likewise found a protective sweep to be reasonable

 in a building that did not immediately adjoin the place of arrest. Alatorre, 863 F.3d at 814

 (citing Davis, 471 F.3d at 944-45 (upholding protective sweep of defendant’s barn after

 arrest outside of the barn)); see also United States v. Thompson, No. 16-00264-01-CR-W-

 DGK, 2018 WL 3404070, at *8–9 (W.D. Mo. June 11, 2018), report and recommendation

 adopted, No. 4:16-CR-00264-01-DGK, 2018 WL 3398164 (W.D. Mo. July 12, 2018).

 Accordingly, the fact that Defendant was arrested outside after he finally surrendered does

 not invalidate the protective sweep or make it overbroad.




 6
        In fact, the “in-home” description is not used when other structures or places are the
 subject of a protective sweep. See Davis, 471 F.3d 938 (barn); United States v. Aguilar,
 743 F.3d 1144 (8th Cir. 2014) (front lawn); United States v. Arzola, No. 16-00290-01, 2017
 WL 4837198, at *4 (W.D. Mo. Sept. 1, 2017), report and recommendation adopted, No.
 4:16-CR-00290-01, 2017 WL 4819109 (W.D. Mo. Oct. 25, 2017) (inside garage); Hoyos,
 892 F.2d at 1394 (back yard), overruled on other grounds by Ruiz, 257 F.3d 1030; United
 States v. Jones, 193 F.3d 948, 949 (8th Cir. 1999) (common area of apartment building
 permitted search of apartment shared by defendant).
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                     (b)    The officers possessed a reasonable belief that someone else
                            could be inside 64 Brighton Park posing a danger.

       Second, the protective sweep of 64 Brighton Park was justified by several

 articulable facts and rational inferences supporting the officers’ reasonable beliefs that

 someone else could be inside posing a danger to them during or following the arrest. Buie,

 494 U.S. at 327; Alatorre, 863 F.3d at 814-815. These facts and inferences include:

              (1)    Defendant delayed communication with officers, refused to

              surrender, and remained out of sight from officers for 31 minutes

              which created a reasonable uncertainty as to how many people were

              inside the residence and their intentions toward the officers, Alatorre,

              863 F.3d at 814-815 (citing Boyd, 180 F.3d at 975-76 (upholding a

              protective sweep because “[w]hen the law enforcement officers

              entered the house ... they had no way of knowing how many people

              were there”) (internal quotation marks omitted); Davis, 471 F.3d at

              944 (“A protective sweep may be executed after an arrest if there is a

              reasonable possibility that other persons may be present on the

              premises who pose a danger to the officers.”)).

              (2)    While refusing to surrender, there was no indication as to what

              Defendant, or anyone else inside, was or was not doing.

              (3)    Defendant initiated communications with others while still

              inside the residence, including a female associate and an attorney.




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               (4)    Defendant left a young child and five-month-old baby inside

               64 Brighton Park suggesting that, in doing so, another person or

               persons remained inside to care for the children’s well-being.

               (5)    Defendant had been charged with drug conspiracy and officers

               knew that, among other things, Defendant was involved in the long-

               term distribution of multiple kilogram quantities of cocaine.7

               (6)    Defendant had been charged with the murder of three victims in

               furtherance of that drug trafficking conspiracy through use of a firearm. See

               Alatorre, 863 F.3d at 815 (noting that defendant's criminal history involving

               concealed weapons made it conceivable that others were in the house with

               access to weapons).

               (7)    Officers knew that, among other things, Defendant was always

               armed with a firearm.

               (8)    At the time of his arrest, Defendant confirmed the presence of

               three firearms inside 64 Brighton Park.

               (9)    As a result of this information provided by Defendant and the

               exiting federal charges, officers knew that, at minimum, firearms were


 7
         The Eighth Circuit has recognized the association between drug offenses and
 violence in upholding protective sweeps of residences of known drug traffickers. See
 Waters, 883 F.3d at 1027 (citing United States v. Cash, 378 F.3d 745, 748–49 (8th Cir.
 2004)). That officers do not have exact details on the extent of an individual’s distribution
 of illegal drugs does not render their decision to conduct a protective sweep erroneous;
 instead, it is reasonable for officers to believe that any other person inside the residence is
 dangerous. Id.


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               present inside 64 Brighton Park, giving anyone remaining inside the

               residence access to weapons to use in an ambush of the officers and

               making officers vulnerable to attack from someone inside the

               residence.

        The officers encountered Defendant and his young child outside of the residence.

 At least one additional individual -- the five-month-old baby -- remained inside 64 Brighton

 Park. This is not to suggest that the five-month-old posed a threat. Instead, it further

 justifies the officers conducting the protective sweep of 64 Brighton Park as it was not

 apparent how many other individuals remained inside when the protective sweep was

 initiated. And, more specifically, the safety of the five-month-old child was in question.

 Alatorre, 863 F.3d at 814-815 (citing United States v. Williams, 577 F.3d 878, 881 (8th

 Cir. 2009) (noting similarly that “[w]hile hindsight reveals that the officers had already

 encountered all of the occupants of the home before conducting the protective sweep, that

 information was not apparent to the officers when they initiated the sweep”); United States

 v. Lucas, 898 F.2d 606, 610 (8th Cir. 1990) (“[I]t does not make sense to prescribe a

 constitutional test that is entirely at odds with safe and sensible police procedures.”).

 Officers are never required to assume that no one else is in a home. See, e.g., Waters, 883

 F.3d at 1025 (upholding a protective sweep even though the defendant's fiancée told

 officers that the defendant was the only person inside the residence).

        Furthermore, it took Defendant approximately 31 minutes to exit the residence. It

 was reasonable for the police to believe that anyone else inside the home would have had

 the time and ability to hide from the officers’ view during that time period, which had been

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 limited to the front entryway and the garage. See Alatorre, 863 F.3d at 814-15 (holding

 protective sweep justified where defendant's girlfriend “lingered in the kitchen out of sight

 of the officers until she was specifically called to the door, indicating that it was easy for

 someone to hide just out of view of the officers inside the residence in a position from

 which an attack could be launched”); Waters, 883 F.3d at 1026-27 (noting that the officers’

 announcing their presence several times before breaching the door “provided anyone in the

 residence ample time to hide before officers entered the residence”).

        Further complicating officer safety was the fact that Defendant had at least one

 camera surveilling his home, which could have given ample forewarning to others in the

 house of the officers’ arrival sufficient to allow someone to hide within the house. See

 Davis, 471 F.3d at 945 (upholding protective sweep where “surveillance cameras were

 attached to the [defendant's] house, which could indicate the heightened possibility of a

 surprise attack”).

                      (c)    The protective sweep was limited in time and scope.

        Third, the officers conducted the protective sweep of the non-attic areas in a

 constitutional manner because it lasted only seven minutes and was confined to places

 within living areas large enough to hide a person. The attic was not physically swept but

 was done so visually once the appropriate equipment was obtained. The visual sweep of

 the attic likewise took roughly seven minutes. The Eighth Circuit has echoed Buie by

 specifying that a protective sweep will be upheld if it is “quick and limited” and “initially

 confined to places large enough to conceal a person.” Boyd, 180 F.3d at 976 (internal

 quotation marks omitted); see also United States v. Henderson, 748 F.3d 788, 793 (7th Cir.

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 2014) (protective sweep of house lasted “no longer than five minutes”); United States v.

 Laudermilt, 677 F.3d 605, 608–09 (4th Cir. 2012) (sweep of two-story house “from start

 to finish, lasted about five minutes”); United States v. Hauk, 412 F.3d 1179, 1184 (10th

 Cir. 2005) (sweep of residence “lasted approximately five to ten minutes”); United States

 v. Flowers, 424 Fed. App'x 302, 303 (5th Cir. 2011) (protective sweep of two-story house

 and garage “lasted no longer than five minutes”). Courts have recognized that a short

 sweep is an indication that the search was truly cursory in nature. See, e.g., United States

 v. Burrows, 48 F.3d 1011, 1017 (7th Cir. 1995) (“The record supports the determination

 that the search of the four bedrooms and linen closet, which required the officers to force

 four locked doors, took no more than five minutes, an interval compatible with the officers'

 legitimate purpose.”); United States v. Hogan, 38 F.3d 1148, 1150 (10th Cir. 1994) (“[I]t

 appears from the officer's testimony that the protective sweep could have truly been cursory

 and ended ... a few minutes after the arrest.”); see also United States v. Lesane, 685 Fed.

 App'x 705, 722 (11th Cir. 2017) (noting that protective sweep of single-story house “took

 no longer than three or four minutes, lending support to the conclusion that the sweep was

 cursory in nature”).




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                      (d)    Seizure of 64 Brighton Park pending search warrant
                             application was legally permissible.

        Lastly, after the limited physical and visual protective sweeps were concluded,

 officers lawfully seized 64 Brighton Park while application was made for a federal search

 warrant to prevent Defendant or anyone else from destroying evidence or to bring risk to

 the officers. See Illinois v. McArthur, 531 U.S. 326, 331-32 (2001) (ruling that warrantless

 seizure of defendant by preventing him from entering his trailer residence unaccompanied

 was a reasonable action to prevent him from destroying evidence). A temporary seizure

 supported by probable cause and designed to prevent the loss of evidence while the police

 diligently obtain a warrant in a reasonable period of time is never unlawful. See McArthur,

 531 U.S. at 334. Here, officers had probable cause to believe evidence of a crime would

 be found in Defendant's 64 Brighton Park residence. It was known that Defendant was a

 drug trafficker, that Defendant regularly possessed firearms in furtherance of that drug

 trafficking, and that Defendant had at least three firearms within 64 Brighton Park. 8

 Officers properly secured 64 Brighton Park to preserve the evidence and did so only for

 the time necessary to actually obtain the federal search warrant.

        Accordingly, Defendant’s lawful arrest and the proper protective sweep of 64

 Brighton Park provide no basis for suppression.




 8
         Defendant was subsequently charged in Count 13 of the Fifth Superseding
 Indictment for his illegal possession of firearms in furtherance of Defendant’s drug
 trafficking that were seized on August 27, 2015, from inside 64 Brighton Park (Doc. # 1989
 at p. 25).
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               2.     The affidavit in support of the 64 Brighton Park search
                      warrant established probable cause and did not rely upon any
                      information gleaned during the protective security sweep.

         The Fourth Amendment prohibits unreasonable searches and seizures and requires

 warrants to “particularly describ[e] the place to be searched, and the persons or things to

 be seized.” See United States v. Eggerson, No. 19-3742, 2021 WL 2303072, at *2 (8th

 Cir. June 7, 2021). If evidence was gathered in violation of the Fourth Amendment, it may

 be suppressed under the exclusionary rule. Leon, 468 U.S. at 906. But even when a search

 warrant is defective or invalid, the good faith exception may apply. Id. at 925, 104 S.Ct.

 3405.

         As discussed in connection with the 4223 West Sacramento and 4217 East

 Sacramento search warrants, the standard to be used by a judge reviewing the decision to

 issue a search warrant is different from the standard to be used by the judge who issues the

 search warrant. When determining whether probable cause exists, a court does not

 independently evaluate each piece of information, but, rather, considers all of the facts for

 their cumulative meaning. United States v. Allen, 297 F.3d 790, 794 (8th Cir. 2002). As

 the Supreme Court stated in Gates, 462 U.S. at 214:

               The task of the issuing magistrate is simply to make a practical,
               common sense decision whether, given all the circumstances
               set forth in the affidavit before him, including the “veracity”
               and “basis of knowledge” of persons supplying hearsay
               information, there is a fair probability that contraband or
               evidence of a crime will be found in a particular place. And the
               duty of a reviewing court is simply to ensure that the magistrate
               had a “substantial basis for ... conclud[ing]” that probable
               cause existed. Jones v. United States, 362 U.S., at 271, 80
               S.Ct., at 736; see also United States v. Baker, No. 1:11-CR-
               103-JAR, 2012 WL 12527307, at *11 (E.D. Mo. Sept. 29,
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               2012), report and recommendation adopted sub nom.; United
               States v. Turner, No. 1:11-CR-103-JAR, 2013 WL 11271638
               (E.D. Mo. Mar. 15, 2013), aff'd, 781 F.3d 374 (8th Cir. 2015).

 The Gates Court offered the following caution to reviewing courts, Id. at 236:

               Similarly, we have repeatedly said that after-the-fact scrutiny
               by courts of the sufficiency of an affidavit should not take the
               form of de novo review. A magistrate's “determination of
               probable cause should be paid great deference by reviewing
               courts.” Spinelli, supra, 393 U.S., at 419, 89 S.Ct., at 590.

               A grudging or negative attitude by reviewing courts toward
               warrants,” Ventresca, 380 U.S., at 108, 85 S.Ct., at 745, is
               inconsistent with the Fourth Amendment's strong preference
               for searches conducted pursuant to a warrant; “courts should
               not invalidate warrant[s] by interpreting affidavit[s] in a
               hypertechnical, rather than a common sense, manner. Id., at
               109, 85 S.Ct., at 746.

        For a warrant to issue properly under the Fourth Amendment, the warrant must be

 supported by probable cause. Gates, 462 U.S. at 238-39; United States v. Caswell, 436

 F.3d 894, 897 (8th Cir. 2006).      Probable cause exists, if under the totality of the

 circumstances, “there is a fair probability that contraband or evidence of a crime will be

 found in a particular place.” Gates, 462 U.S. at 238-39. In deciding whether there is

 probable cause to support a warrant, a judge may draw reasonable inferences from the

 totality of the circumstances. Summage, 481 F.3d at 1078.

        Probable cause is a fluid concept -- turning on the assessment of probabilities in

 particular factual contexts -- not readily, or even usefully, reduced to a neat set of legal

 rules. The Supreme Court found, Gates 462 U.S. at 231, quoting from Brinegar v. United

 States (citation omitted), that the probable cause standard is a “practical, nontechnical

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 conception” and “[i]n dealing with probable cause, ... as the very name implies, we deal

 with probabilities. These are not technical; they are the factual considerations of everyday

 life on which reasonable and prudent men, not legal technicians, act.”

        In analyzing the search warrant directed to 64 Brighton Park, it is clear that probable

 cause existed (see Exh. 5). The affidavit explained the drug trafficking and firearm

 possession in furtherance of drug trafficking resulting in death charges against Defendant.

 It described the events surrounding Defendant’s arrest that had occurred earlier that

 morning and noted Defendant’s statement that three firearms were located inside 64

 Brighton Park. The affidavit also summarized information received from CW about

 Defendant’s criminal activities, including, but not limited to, Defendant’s use of firearms

 in furtherance of Defendant’s drug trafficking. To that end, the affidavit provided detailed

 information about the practices of drug traffickers, their use of firearms and the connection

 between firearms and other items to drug trafficking. As a result, the affidavit established

 a fair probability that evidence of Defendant’s crimes would likely be found within 64

 Brighton Park.

        As set forth above, this Court's role is simply to determine whether the issuing court

 had a substantial basis for making the “practical, common-sense decision” it did about

 whether there was a “fair probability” that officers would discover evidence connected with

 a crime within 64 Brighton Park. See Gates, 462 U.S. at 238; Oropesa, 316 F.3d at 766.

 Although each piece of information stated in the affidavit may not provide sufficient

 probable cause for the warrant to issue, taken together and given the totality of the



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 circumstances, a reasonable person could believe there was a fair probability that evidence

 of a crime would be found in the phone information sought pursuant to this search warrant.

               3.     Officers executing the 64 Brighton Park search warrant acted in
                      good faith.

        Should this Court find probable cause lacking, the Leon exception should apply

 because there was a facially valid warrant that was reasonably relied upon. Evidence

 seized pursuant to a search warrant that lacked probable cause is admissible if the executing

 officer's good-faith reliance on the warrant is objectively reasonable.” United States v.

 Perry, 531 F.3d 662, 665 (8th Cir. 2008). “The good-faith inquiry is confined to the

 objectively ascertainable question whether a reasonably well-trained officer would have

 known that the search was illegal despite the [issuing judge's] authorization.” United States

 v. Proell, 485 F.3d 427, 430 (8th Cir. 2007) (alteration in original) (quotations omitted).

 “When assessing the objective [reasonableness] of police officers executing a warrant, [the

 Court] must look to the totality of the circumstances, including any information known to

 the officers but not presented to the issuing judge.” Id. at 431 (alteration in original)

 (quotations omitted).

        Here, the good-faith exception applies. There is no evidence to suggest that: (a) the

 judge abandoned her detached and neutral role; (b) the special agent was dishonest or

 reckless in preparing the affidavit; (c) the officers' reliance on the warrant was not in good

 faith; or (d) the officers' reliance was not reasonable. See United States v. Temple, No.

 4:15-CR-230-JAR-JMB, 2017 WL 7798109, at *37 (E.D. Mo. Oct. 6, 2017), report and

 recommendation adopted, No. 4:15-CR-230-JAR, 2018 WL 1116007 (E.D. Mo. Feb. 27,


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 2018) (citations omitted); United States v. Baker, 2012 WL 12527307, at *12–13; United

 States v. Turner, No. 1:11-CR-103-JAR, 2013 WL 11271638 (E.D. Mo. Mar. 15, 2013),

 aff'd, 781 F.3d 374 (8th Cir. 2015); United States v. Lindsey, No. CRIM. 10-15 JNE JJK,

 2010 WL 4822939, at *33 (D. Minn. July 20, 2010), report and recommendation adopted

 in part, No. CRIM. 10-15 JNE JJK, 2010 WL 4822925 (D. Minn. Nov. 22, 2010), aff'd in

 part, 702 F.3d 1092 (8th Cir. 2013). Just the opposite is true: the attesting agent

 affirmatively stated in his affidavit that he believed probable cause existed and the judge

 agreed by signing and issuing the warrant.

                                      *       *     *

       In sum, the seizure of evidence from 64 Brighton Park occurred pursuant to a valid

 search warrant supported by probable cause and conducted consistent with the good faith

 exception to the warrant requirement. The evidence seized from 64 Brighton Park was

 lawfully seized and is admissible.




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 III.   PONTIAC GRAND PRIX

        A.     Relevant Facts

               1.     August 26, 2015, federal indictment and Defendant’s August 27,
                      2015 arrest

        On August 26, 2015, a federal grand jury returned a three-count indictment against

 Defendant for one count of conspiracy to possess with the intent to distribute cocaine in

 and two counts of discharge of a firearm in furtherance of drug trafficking resulting in the

 December 29, 2013, and January 21, 2014, deaths of three victims (Doc. # 2).

        On August 27, 2015, officers conducted surveillance of 64 Brighton Park in Saint

 Charles, Missouri for purposes of effectuating Defendant’s valid federal arrest warrant.

 Beginning at approximately 9:45 a.m., Defendant exited 64 Brighton Park through its front

 door and entered the garage (Exh. 4-A). Among other things, Defendant entered the

 driver’s side of a green Pontiac Grand Prix that was located within the garage. Defendant

 backed his Grand Prix from the garage and parked it on the 64 Brighton Park driveway

 (Id.). Defendant re-entered 64 Brighton Park (Id.). Between approximately 9:47 and 9:50

 a.m., Defendant twice exited the residence, placed items inside the Grand Prix, and

 reentered the residence (Id.).

        As previously discussed, Defendant was eventually arrested pursuant to the valid

 federal arrest warrant. The existence of the federal arrest warrant gave officers legal

 authority to be on the 64 Brighton Park premises; so did the federal search warrant directed

 to 64 Brighton Park that was obtained post-arrest (also discussed above).




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               2.     August 27, 2015, seizure of the Grand Prix

        Officers conducted a security sweep of 64 Brighton Park in connection with

 Defendant’s arrest and later obtained a federal search warrant directed to 64 Brighton Park.

 While lawfully on the premises of 64 Brighton Park for purposes of arresting Defendant,

 conducting the protective sweep, obtaining children’s items at the request of Defendant’s

 female associate, and while executing the federal search warrant, officers observed a

 Pontiac Grand Prix that Defendant had previously parked in the driveway. The Grand Prix

 was of significance because the on-going investigation had determined that Defendant used

 multiple different vehicles to commit violent acts, including murder, and to transport

 controlled substances. As a result, the Grand Prix was evidence of Defendant’s crimes.9

        Officers also knew that Defendant undertook efforts to prevent the identification of

 vehicles used by Defendant to commit acts of violence, which included repainting the

 vehicle. Upon further inspection of the Grand Prix prior to seizure, one or more officers

 observed that the Grand Prix had been repainted. One or more officers were also able to

 observe some of the Grand Prix’s contents from outside the vehicle. In plain view inside

 the Grand Prix was an unzipped bag along with other semi-automatic firearm- and firearm-

 shooting range-related items. These items observed within the Grand Prix were of

 significance as officers had been previously informed that, in preparation for the

 commission of violent acts, Defendant utilized firearm shooting ranges to perfect his aim.



 9
       Officers observed a red vehicle parked within the 64 Brighton Park garage which
 was registered to a female. The red vehicle was not seized as no connection between
 Defendant, Defendant’s criminal activity, and the red vehicle existed.

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 The Grand Prix was photographed prior to seizure of the vehicle -- but no search or seizure

 of any item occurred. True and accurate copies of photographs relevant to the Grand Prix

 and this suppression issue are submitted herewith as Exhibit 6 and incorporated herein by

 this reference.

        The Grand Prix was transported to the Saint Louis, Missouri, Federal Bureau of

 Investigation office where it was secured. Once there, officers again observed from outside

 of the vehicle, in plain view, the unzipped bag, its contents, and other firearm-related items.

 However, no search of the Grand Prix was conducted at that time either.10




 10
        “It is settled that an officer, without a warrant, may seize an object in plain view
 provided the officer is lawfully in the position from which he or she views the object, the
 object's incriminating nature is immediately apparent, and the officer has a lawful right of
 access to the object.” Gillispie v. Griffith, No. 4:14CV257 NAB, 2017 WL 1164813, at *6
 (E.D. Mo. Mar. 29, 2017) (citations omitted); United States v. Humphrey, No. 4:12CR128
 CEJ NAB, 2012 WL 4793766, at *5 (E.D. Mo. Sept. 11, 2012), report and recommendation
 adopted, No. 4:12-CR-128 CEJ, 2012 WL 4793713 (E.D. Mo. Oct. 9, 2012), aff'd, 753
 F.3d 813 (8th Cir. 2014) (quoting United States v. Darr, 661 F.3d 375, 379 (8th Cir. 2011)
 (quoting United States v. Bustos–Torres, 396 F.3d 935, 944 (8th Cir. 2005))). “Neither
 exigency nor inadvertence is an element of the plain view doctrine.” Id. (quoting PPS, Inc.
 v. Faulkner Cnty., 630 F.3d 1098, 1106 (8th Cir. 2011) (citing Horton v. California, 496
 U.S. 128, 137–38 (1990)); see also See United States v. Evans, 830 F.3d 761, 767 (8th Cir.
 2016) (quoting United States v. Hatten, 68 F.3d 257, 261 (8th Cir. 1995) (“[A] person who
 parks a car—which necessarily has transparent windows—on private property does not
 have a reasonable expectation of privacy in the visible interior of his car.”). While these
 requirements were satisfied here, no seizure was made at the time the items were viewed.
 Instead, officers properly obtained a federal search warrant. Therefore, Defendant’s
 challenge to the search of the Grand Prix’s under the plain view doctrine is misplaced (see
 Doc. # 3212 at pp. 20-21).


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               3.     September 16, 2015, warrant to search the Grand Prix

        Following Defendant’s arrest and seizure of the Grand Prix, SA Burke applied for

 a federal warrant authorizing officers to search the Grand Prix. A true and accurate copy

 of the Grand Prix search warrant documentation is submitted herewith as Exhibit 7 and

 incorporated herein by this reference.

        As it related to the Grand Prix, the affidavit explained the drug trafficking and

 firearm possession in furtherance of drug trafficking resulting in death charges against

 Defendant. It described the Grand Prix vehicle, including its vehicle identification number,

 license plate and registration information. The affidavit detailed the events surrounding

 Defendant’s arrest, Defendant’s operation of the Grand Prix, the search of 64 Brighton

 Park, and the seizure of the Grand Prix, all of which occurred on August 27, 2015. The

 affidavit noted the seizure of five magazine-fed firearms from 64 Brighton Park, four of

 which were loaded.

        The affidavit also noted that:

                [i]nvestigators have interviewed numerous witnesses,
               confidential informants, and parties related to the investigation,
               that have identified JORDAN’s criminal organization’s modus
               operandi. These interviews, in conjunction with other aspects
               of the case, have revealed JORDAN’s past utility of the [Grand
               Prix] to further his criminal organization…[and] were used in
               illegal drug trafficking and violent criminal offenses (Exh. 7 at
               Aff. p. 3).

 In addition, the affidavit summarized detailed information provided by CW on five separate

 occasions, including in the days following the Grand Prix’s lawful seizure pending




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 application of the search warrant. As it related specifically to the Grand Prix, the affidavit

 set forth CW’s information as to Defendant’s utilization of the Grand Prix:

               …JORDAN used the Pontiac Grand Prix to transport and
               distribute cocaine. Further, JORDAN used the Grand Prix to
               transport firearms, which the investigation has demonstrated
               were used to protect the criminal enterprise. According to the
               CW, the Grand Prix was previously red until JORDAN had it
               painted to the current light green color. JORDAN would often
               paint his vehicles to evade law enforcement as well as avoid
               being detected by competitors…Additionally, JORDAN only
               owned fast vehicles that could outrun the police. According to
               the CW, JORDAN enhanced the Grand Prix with a pro charger
               system, which is an after-market modification to a vehicle’s
               engine that will increase speed and performance. Lastly,
               JORDAN paid extra to have a ‘prevent child abuse-themed’
               license plate out on the Grand Prix in yet another measure to
               deter law enforcement (Id. at Aff. p. 4).

 The affidavit noted the unzipped black bag containing semi-automatic firearm magazines

 observed by officers within the Grand Prix’s back seat.

         Accordingly, officers believed that evidence of drug distribution and violent

 criminal offenses would be located inside the Grand Prix. To that end, the affidavit

 provided detailed information about the practices of drug traffickers, their use of firearms

 and the connection between firearms and other items to drug trafficking. As a result, the

 affidavit   stated   that,   among     other    things,        “controlled   substances,   drug

 proceeds…documents        evidencing    participation     in     drug   trafficking…firearm(s),

 ammunition, magazines, evidence of possession of a firearm in furtherance of drug

 trafficking crimes, documentation of possession and/or ownership of the [Grand Prix],

 and/or cellular phones or other electronic devices” would likely be found within the Grand

 Prix.

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       Based upon the information contained in the application, Magistrate Judge Thomas

 C. Mummert issued a search warrant at approximately 1:30 p.m. on September 16, 2015.

 The warrant was formally executed at approximately 2:30 p.m. that same day. Evidence

 was seized, including a mobile phone; iPod; ski mask; three black shirts; gloves; head

 coverings; firearm magazine loaded with 20 rounds of ammunition; and a firearm magazine

 loaded with 15 rounds of ammunition. The return was filed with the court on or about

 October 29, 2015.

       B.     Opposition

       The seizure and subsequent search of the Grand Prix were proper because both were

 supported by probable cause. As the Eighth Circuit has observed:

              Although our Fourth Amendment cases sometimes refer
              indiscriminately to searches and seizures, there are important
              differences between the two.... The Amendment protects two
              different interests of the citizen—the interest in retaining
              possession of property and the interest in maintaining personal
              privacy. A seizure threatens the former, a search the latter. As
              a matter of timing, a seizure is usually preceded by a search,
              but when a container is involved the converse is often true.
              Significantly, the two protected interests are not always present
              to the same extent; for example, the seizure of a locked suitcase
              does not necessarily compromise the secrecy of its contents,
              and the search of a stopped vehicle does not necessarily deprive
              its owner of possession. United States v. Clutter, 674 F.3d 980,
              984 (8th Cir.2012) (quoting Texas v. Brown, 460 U.S. 730,
              747–48 (1983) (Stevens, J ., concurring)).

              1.     The Grand Prix’s seizure was supported by probable cause.

       It is well established that “[l]aw enforcement authorities must [only] possess a

 reasonable suspicion based on articulable facts that a package contains contraband before

 they may detain the package for investigation.” United States v. Johnson, 171 F.3d 601,
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 603 (8th Cir. 1999); see also United States v. Terriques, 319 F.3d 1051, 1056 (8th Cir.

 2003) (“A seizure will not violate the Fourth Amendment if the authorities have reasonable

 suspicion based on articulable facts that a package contains contraband....” (quotation

 marks and citation omitted)). Here, although unnecessary, there was much more than just

 a reasonable, articulable suspicion that the Grand Prix was evidence and/or contained

 contraband based upon the information available to officers.

        “Where law enforcement authorities have probable cause to believe that a container

 holds contraband or evidence of a crime, but have not secured a warrant, the [Supreme]

 Court has interpreted the [Fourth] Amendment to permit seizure of the property, pending

 issuance of a warrant to examine its contents, if the exigencies of the circumstances demand

 it or some other recognized exception to the warrant requirement is present.” United States

 v. Stephen, 984 F.3d 625, 631 (8th Cir. 2021), reh'g denied (Feb. 5, 2021) (quoting United

 States v. Place, 462 U.S. 696, 701 (1983)); see also United States v. Smith, 715 F.3d 1110,

 1116-17 (8th Cir. 2013). “[U]nder these circumstances, the risk of the item's disappearance

 or use for its intended purpose before a warrant may be obtained outweighs the interest in

 possession.” Id. at 701–02; see also Clutter, 674 F.3d at 985 (citation omitted) (seizure of

 defendant's computers was necessary “to ensure that the hard drive was not tampered with

 before a warrant was obtained”).

        First, the officers had probable cause to believe the Grand Prix was evidence of a

 crime and contained contraband. “Probable cause exists when, given the totality of the

 circumstances, a reasonable person could believe there is a fair probability that contraband

 or evidence of a crime would be found in a particular place.” Stephen, 984 F.3d at 631

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 (quoting United States v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000)). Here, officers

 understood that Defendant used vehicles for the purposes of committing illegal activity,

 including the commission of murders and drug trafficking. Officers also knew that

 Defendant repainted vehicles used during the commission of violent crimes to avoid

 identification or detection of the vehicles. Here, the Grand Prix had been repainted.

 Further, firearm-related items were observed in plain view inside of it.

        Second, “the exigencies of the circumstances demand[ed]” seizing the Grand Prix

 pending issuance of a warrant “to prevent the disappearance of evidence” and “to ensure

 that the [evidence] was not tampered with before a warrant was obtained.” See Place, 462

 U.S. at 701. An officer’s intention to avoid the destruction or tampering of evidence is a

 valid reason to temporarily seize evidence while a warrant is obtained. Clutter, 674 F.3d

 at 985. Here, the Grand Prix itself, as well as any contraband contained inside, was parked

 in a driveway to which any passerby, or associate of Defendant, could gain access. Without

 immediate seizure, the police risked losing the evidence. See United States v. Goodale, 738

 F.3d 917, 922 (8th Cir. 2013) (upholding warrantless seizure of laptop pending obtaining

 a warrant). Furthermore, Defendant now knew about the investigation and could take steps

 to destroy the evidence or have others do so on his behalf. See Id. (citing United States v.

 Beasley, 688 F.3d 523, 529–30 (8th Cir. 2012) (upholding the warrantless seizure of

 container where “the police had a legitimate interest in preventing destruction of the

 potential contraband”); Florida v. White, 526 U.S. 559, 564-65 (1999) (suggesting that

 warrantless seizure of a vehicle would not violate the Fourth Amendment where the police

 had probable cause to believe that respondent's car contained contraband or was itself

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 contraband); cf. Cardwell v. Lewis, 417 U.S. 583, 593 (1974) (when the police have

 probable cause to conduct a search of a vehicle, and they impound the vehicle prior to

 conducting the search, the search is not unconstitutional); United States v. Zavesky, 839

 F.3d 688, 697 (8th Cir. 2016) (citing Goodale, 738 F.3d at 922 (noting where officers have

 probable cause to believe item contains contraband and there is a legitimate interest in

 preventing destruction of the potential contraband, the Fourth Amendment permits seizure

 of the property, pending issuance of a warrant to examine its contents)); United States v.

 Kaplan, 526 Fed. Apps. 208, 214 (3d Cir. 2013) (police permitted to seize minivan and

 hold it without a warrant “for whatever period is necessary to obtain warrant for the

 search”) (quoting Chambers v. Maroney, 399 U.S. 42, 51 (1970)); United States v.

 Wellsandt, No. CR 15-50008-JLV, 2016 WL 1688008, at *4 (D.S.D. Apr. 27, 2016)

 (impoundment of Ford pick-up truck pending warrant proper where risk of truck’s

 disappearance before a warrant may be obtained outweighed the interest in possession);

 United States v. Richardson, No. CR 15-0176, 2016 WL 223705, at *5 (D.N.J. Jan. 19,

 2016) (officers had probable cause both to search the vehicle and to seize it but, in an

 abundance of caution, officers lawfully impounded the car to allow them to first seek a

 search warrant); but compare United States v. Vento, 533 F.2d 838, 866 (3d Cir. 1976)

 (contrary to Defendant’s argument here, defendant challenged the “automobile exception”

 and complained that police should have seized the vehicle first and refrained from

 searching it until obtaining a warrant for that purpose).

        As the Sixth Circuit said in upholding the warrantless seizure of a suitcase while

 officers obtained a search warrant, “[t]his was a plain old-fashioned seizure of a person's

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 effects, based on probable cause, in order to prevent the disappearance of evidence and so

 that a warrant could be obtained and a search conducted.” See Clutter, 674 F.3d at 985

 (quoting United States v. Respress, 9 F.3d 483, 486 (6th Cir. 1993)). The same can be said

 here. Accordingly, there was no Fourth Amendment violation. See United States v. Mays,

 993 F.3d 607, 616-618 (8th Cir. 2021) (15-day delay during which officers held

 defendant’s laptop pending the issuance of warrant was reasonable and did not cause the

 continuing seizure to violate Defendant’s Fourth Amendment rights).11

        Finally, because the warrantless seizure of the Grand Prix was justified by exigent

 circumstances, Defendant’s argument that evidence obtained from the Grand Prix is



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        In addition to the valid search warrant, two additional bases exist to justify the
 seizure and search of the Grand Prix. First, the record establishes that the Grand Prix and
 items within it could be validly seized under the plain view exception to the warrant
 requirement. “Under the plain-view exception, officers may seize an object without a
 warrant if they are lawfully in a position from which they view the object, the incriminating
 character of the object is immediately apparent, and the officers have a lawful right of
 access to the object.” Beasley, 688 F.3d at 530 (quoting United States v. Muhammad, 604
 F.3d 1022, 1027 (8th Cir. 2010)). Here, officers knew that Defendant utilized the Grand
 Prix, firearms, ammunition, among other things, in furtherance of his drug trafficking
 enterprise. Therefore, the locating of the Grand Prix in the driveway and plain viewing of
 firearm magazines within the Grand Prix permitted lawful seizure of the Grand Prix and
 those items.
         Second, the record also establishes that the Grand Prix and items within it could be
 validly seized under the automobile exception to the warrant requirement. If there is
 probable cause to search a vehicle, and the vehicle is readily mobile, the Fourth
 Amendment permits the police to search the vehicle without more. Pennsylvania v. Labron,
 518 U.S. 938, 940 (1996) (citing California v. Carney, 471 U.S. 386, 393 (1985)). No
 special exigency is required beyond a showing of the mobility of the vehicle. See Maryland
 v. Dyson, 527 U.S. 465, 466–67 (1999) (per curiam). Here, the Grand Prix was readily
 mobile. Officers observed the Defendant drive the Grand Prix from the garage to the open
 driveway. It was movable. It was operational. “All that is necessary to satisfy this element
 is that the automobile is operational.” See, e.g., United States v. Watts, 329 F.3d 1282,
 1286 (11th Cir. 2003).
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 poisonous fruit also fails. Suppressing evidence as the fruit of an illegal search or seizure

 depends on the “nexus between the constitutional violation and the challenged evidence.”

 United States v. Riesselman, 646 F.3d 1072, 1079 (8th Cir. 2011). As discussed, officers

 did not commit any constitutional violations as they had a legitimate basis to effectuate the

 federal arrest warrant, conduct a protective sweep of 64 Brighton Park, and make entry into

 64 Brighton Park pursuant to a federal search warrant. Further, officers possessed probable

 cause and exigent circumstances that justified the seizure of the Grand Prix. Even if

 Defendant could demonstrate the seizure was unlawful, he fails to meet his burden to show

 a “factual nexus” between a constitutional violation and the challenged evidence. Id. The

 undisputed evidence shows the search warrant was based upon the information officers

 gathered prior to the Grand Prix’s seizure and subsequent search. See Wong Sun, 371 U.S.

 at 487 (holding exclusionary rule inapplicable when evidence is acquired through source

 independent of illegality); see United States v. Swope, 542 F.3d 609, 613-14 (8th Cir. 2008)

 (warrant is an independent source when based on evidence not obtained by unlawful act).

 To this end, any officer was allowed to look through the windows of the Grand Prix -- and

 even use a flashlight if necessary -- and take note of items on view in the Grand Prix’s

 interior to gain facts in support of a warrant application. See Hatten, 68 F.3d at 261. As

 such, any evidence obtained from the search of the Grand Prix is not related to any

 constitutional violation and was a product of an independent source. The evidence is thus

 not the fruit of any unlawful police conduct and should not be suppressed. See, e.g., United

 States v. Wainright, No. 18-05010-01-CR-SW-RK, 2019 WL 7285565, at *5 (W.D. Mo.



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 May 8, 2019), report and recommendation adopted in part, No. 3:18-05010-CR-RK, 2019

 WL 7282501 (W.D. Mo. Dec. 27, 2019).

               2.     The Grand Prix’s search warrant was supported by probable
                      cause.

        As discussed above, on August 27, 2015 probable cause existed to believe that the

 Grand Prix was and also contained evidence of a crime. The Supreme Court has defined

 probable cause to search as “a fair probability that contraband or evidence of a crime will

 be found in a particular place.” Gates, 462 U.S. at 238. Probable cause is “a fluid concept

 turning on the assessment of probabilities in particular factual contexts not readily, or even

 usefully, to a neat set of legal rules,” and its existence determined by an analysis of the

 totality of circumstances surrounding the intrusion. Id. at 232, 238.

        Following the Grand Prix’s seizure, officers again met with CW who provided more

 specific detail regarding the Grand Prix. Among other things, the cooperating witness

 identified the Grand Prix as a vehicle used by Defendant to commit crimes and avoiding

 detection by law enforcement and rival drug traffickers. This was particularly compelling

 based upon the fact that this specific, reliable information was being provided by CW who

 committed criminal activity with Defendant. See United States v. Nolen, 536 F.3d 834,

 839-40 (8th Cir. 2008) (explaining that tips from identifiable informants deserve greater

 weight because they “can be held responsible if [their] allegations turn out to be

 fabricated”); United States v. Stevens, 530 F.3d 714, 718-19 (8th Cir. 2008) (finding

 probable cause in part because the tipster had offered “a first-person, eyewitness account

 of ... contraband”). Further, and consistent with CW’s information, an unzipped bag


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 containing firearm magazines was readily observed inside the Grand Prix. Based upon the

 information known to officers, the Grand Prix was an instrumentality of one or more crimes

 and these firearm magazines were evidence of Defendant’s possession of firearms in

 furtherance of his drug trafficking. Here, officers had specific information that the Grand

 Prix was used by Defendant to conduct his drug trafficking and other crimes of violence.

 Armed with this information, SA Burke applied for and received a federal search warrant

 for the Grand Prix.

        At the time SA Burke applied for the Grand Prix search warrant, CW’s information

 had “been deemed reliable based upon physical surveillance, interviews of other sources

 and/or witnesses, the execution of search warrants, resulting in the seizure of physical

 evidence from, among other locations, a known stash house for JORDAN [4223 West

 Sacramento] in August 2015, and the existing overall investigation” (Exh. 7 at Aff. p. 3).

 Further, CW had “testified under oath before the federal grand jury regarding his

 knowledge regarding JORDAN and JORDAN’s criminal activity” (Id.). Against that

 backdrop, CW identified the Grand Prix as a vehicle Defendant used to transport and

 distribute cocaine as well as transport firearms used to protect the criminal enterprise.

        By locating the Grand Prix at 64 Brighton Park and observing Defendant drive it,

 officers had straightforwardly confirmed and corroborated the witness’s information. See

 United States v. Morales, 283 F.3d 952, 953 (8th Cir. 2001); Williams, 10 F.3d at

 593). Corroboration of minor, innocent details supports the finding of probable

 cause. United States v. Carpenter, 341 F.3d 666, 669 (8th Cir. 2003). And not every detail

 must be corroborated. See United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995). But,

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 much was corroborated, including the fact that the Grand Prix has been repainted from red

 to light green, the engine had been modified, and a “child abuse prevention” license plate

 affixed to it. This was plainly set forth in the Grand Prix search warrant documents.

        As previously set forth above, this Court's role is simply to determine whether the

 issuing court had a substantial basis for making the “practical, common-sense decision” it

 did about whether there was a “fair probability” that officers would discover evidence of a

 crime. See Gates, 462 U.S. at 238; Oropesa, 316 F.3d at 766. Although each piece of

 information stated in the affidavit may not provide sufficient probable cause for the warrant

 to issue, taken together and given the totality of the circumstances, a reasonable person

 could believe there was a fair probability that the Grand Prix was evidence of a crime and

 that additional evidence of a crime would be found in the information sought pursuant to

 the Vehicles Search Warrant.

               3.     Officers executing the Grand Prix search warrant acted in good
                      faith.

        Should this Court find probable cause lacking, the Leon exception should apply

 because there was a facially valid warrant that was reasonably relied upon. Evidence

 seized pursuant to a search warrant that lacked probable cause is admissible if the executing

 officer's good-faith reliance on the warrant is objectively reasonable. Perry, 531 F.3d at

 665.

        Here, the good-faith exception applies. There is no evidence to suggest that: (a)

 Judge Mummert abandoned his detached and neutral role; (b) SA Burke was dishonest or

 reckless in preparing the affidavit; (c) the officers' reliance on the warrant was not in good


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 faith; or (d) the officers' reliance was not reasonable. Just the opposite is true: SA Burke

 affirmatively stated in his affidavit that he believed probable cause existed and Judge

 Mummert agreed by signing and issuing the warrant.

                                         *    *    *

        The seizure of the Grand Prix was supported by probable cause and required to

 prevent potential evidence destruction. The subsequent search of the Grand Prix was

 conducted pursuant to a valid search warrant supported by probable cause or, alternatively,

 the search was conducted consistent with the good faith exception to the warrant

 requirement. The items located during the search of the Grand Prix were lawfully seized

 and are admissible.




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 V.     PONTIAC GTO COUPE AND CHEVROLET SILVERADO SS

        A.     Relevant Facts

               1.     August 28, 2015, seizure of the Pontiac GTO and Chevrolet
                      Silverado

        On August 28, 2015, the day after Defendant’s arrest had been publicized by local

 media, one or more officers was contacted by a representative of PUR Performance and

 First Capitol 4WD (PUR Performance). Among other things, the representative stated that

 vehicles belonging to Defendant were located at PUR Performance.

        An officer responded to PUR Performance. Upon arrival, two vehicles were

 identified as Defendant’s, a 2004 red Pontiac GTO Coupe and a 2004 black Chevrolet

 Silverado SS. Order sheets were obtained and reviewed, indicating that the Pontiac GTO

 was provided to PUR Performance by Defendant for repair on or about August 4, 2015,

 and the Chevrolet Silverado was provided to PUR performance by Defendant for repair on

 August 5, 2015.

        Among other things, PUR Performance employees described Defendant as a “loyal”

 customer for approximately five years who owned numerous vehicles serviced by PUR

 Performance. Defendant routinely left his vehicles parked at PUR Performance for months

 after work was performed. On several occasions, Defendant provided a vehicle to PUR

 performance for repair when no repairs were necessary. Additionally, PUR Performance

 employees often observed weapons and ammunition in Defendant’s vehicle; this included

 as assault rifle and handguns.




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        As to the two vehicles left by Defendant in August 2015, PUR Performance

 employees observed a pistol magazine inside the Chevrolet Silverado’s glove compartment

 and numerous live rounds of ammunition in the center console of the Pontiac GTO. The

 Pontiac GTO had also been repainted from black to red. Both vehicles and relevant

 paperwork were seized by officers from PUR Performance on August 28, 2015. Both

 vehicles were transported to the Saint Louis, Missouri, Federal Bureau of Investigation

 office where each was secured. No search of the Pontiac GTO or Chevrolet Silverado was

 conducted at that time.

               2.     September 16, 2015, warrants to search the Pontiac GTO and
                      Chevrolet Silverado.

        Following the August 28 seizure of the Pontiac GTO and Chevrolet Silverado, SA

 Burke applied for a federal warrant authorizing officers to search each vehicle. A true and

 accurate copy of the Pontiac GTO search warrant documentation is submitted herewith as

 Exhibit 8 and incorporated herein by this reference. A true and accurate copy of the

 Chevrolet Silverado search warrant documentation is submitted herewith as Exhibit 9 and

 incorporated herein by this reference.

        Each search warrant affidavit explained the drug trafficking and firearm possession

 in furtherance of drug trafficking resulting in death charges against Defendant. Each

 described the vehicle, including its vehicle identification number, license plate and

 registration information. Each affidavit detailed the events surrounding Defendant’s

 arrest, Defendant’s operation of the vehicles, the search of 64 Brighton Park, and the




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 seizure of the vehicle. The affidavit noted the seizure of five magazine-fed firearms from

 64 Brighton Park, four of which were loaded.

        The affidavit also noted that:

                [i]nvestigators have interviewed numerous witnesses,
               confidential informants, and parties related to the investigation,
               that have identified JORDAN’s criminal organization’s modus
               operandi. These interviews, in conjunction with other aspects
               of the case, have revealed JORDAN’s past utility of the subject
               vehicles to further his criminal organization…[and] were used
               in illegal drug trafficking and violent criminal offenses (Exh.
               8 at Aff. p. 3; Exh. 9 at Aff. p. 3).

 In addition, each affidavit summarized detailed information provided by CW on five

 separate occasions, including on September 3, 2015, days after Defendant’s arrest and days

 before the search warrant application. As it related specifically to the Pontiac GTO, the

 affidavit set forth CW’s information as to Defendant’s utilization of the Pontiac GTO:

               …JORDAN used his Pontiac GTO to transport and distribute
               drugs, commit shootings, and flee from law enforcement. On
               February 3, 2010…JORDAN [and two other individuals]
               operated the Pontiac GTO, which was black at the time, to
               shoot and kill [Marquis] JONES and [Keairrah] JOHNSON.

               According to the CW, JORDAN owned the Pontiac GTO since
               circa 2006/2007. JORDAN has transported and distributed
               drugs from the Pontiac GTO. JORDAN painted the vehicle red
               in an effort to evade law enforcement. Further, JORDAN had
               a “prevent child abuse-themed” license plate on the vehicle to
               deter detection, as well (Exh. 8 at Aff. p. 5).

 As it related specifically to the Chevrolet Silverado, the affidavit set forth the cooperating

 witness’ information as to Defendant’s utilization of the Chevrolet Silverado:

               …JORDAN used his Chevrolet Silverado SS to transport and
               distribute drugs and transport firearms, which were used by
               JORDAN to protect his drug enterprise. According to the CW,

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                JORDAN used the Chevrolet Silverado SS to pull a trailer,
                which contained drugs (Exh. 9 at Aff. p. 6).

        Accordingly, officers believed that evidence of drug distribution and violent

 criminal offenses would be located inside the Pontiac GTO and Chevrolet Silverado. To

 that end, the affidavit provided detailed information about the practices of drug traffickers,

 their use of firearms and the connection between firearms and other items to drug

 trafficking.   As a result, the affidavit stated that, among other things, “controlled

 substances,     drug    proceeds…documents         evidencing     participation    in    drug

 trafficking…firearm(s), ammunition, magazines, evidence of possession of a firearm in

 furtherance of drug trafficking crimes, documentation of possession and/or ownership of

 the subject vehicles, and/or cellular phones or other electronic devices” would likely be

 found within the Grand Prix.

        Based upon the information contained in the application, Magistrate Judge Thomas

 C. Mummert issued a search warrant at approximately 1:30 p.m. on September 16, 2015.

 The warrant was formally executed at approximately 2:30 p.m. that same day. Evidence

 was seized from the Pontiac GTO, including a facial mask; gloves; holster; ammunition;

 and documents connected to Defendant. Evidence was also seized from the Chevrolet

 Silverado, including a loaded firearm magazine; a glove; gun case; and box of ammunition.

 The return was filed with the court on or about October 29, 2015.




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       B.     Opposition

              1.     The seizures of the Pontiac GTO and Chevrolet Silverado were
                     supported by probable cause.

       The applicable law previously set forth within this response and factual record

 establish that the seizure and subsequent search of the Pontiac GTO and Chevrolet

 Silverado were proper because both were supported by probable cause.

       Seizure was appropriate because, first, the officers had probable cause to believe the

 Pontiac GTO and Chevrolet Silverado were evidence of a crime and contained contraband.

 “Probable cause exists when, given the totality of the circumstances, a reasonable person

 could believe there is a fair probability that contraband or evidence of a crime would be

 found in a particular place.” Stephen, 984 F.3d at 631 (quoting Fladten, 230 F.3d at 1085).

 Here, officers understood that Defendant used vehicles for the purposes of committing

 illegal activity, including the commission of murders and drug trafficking. Further, a

 firearm magazine and rounds of live ammunition were observed by PUR Performance

 employees inside the vehicles.

       Second, “the exigencies of the circumstances demand[ed]” seizing the vehicles

 pending issuance of a warrant “to prevent the disappearance of evidence” and “to ensure

 that the [evidence] was not tampered with before a warrant was obtained.” See Place, 462

 U.S. at 701. An officer’s intention to avoid the destruction or tampering of evidence is a

 valid reason to temporarily seize evidence while a warrant is obtained. Clutter, 674 F.3d

 at 985. Here, the vehicles themselves, as well as any contraband contained inside, were

 parked on a business parking lot to which any passerby, or associate of Defendant, could


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 gain access. Without immediate seizure, the police risked losing the evidence. See

 Goodale, 738 F.3d at 922 (upholding warrantless seizure of laptop pending obtaining a

 warrant). Furthermore, Defendant now knew about the investigation and could take steps

 to destroy the evidence or have others do so on his behalf. Id. (citing Beasley, 688 F.3d at

 529–30 (upholding the warrantless seizure of container where “the police had a legitimate

 interest in preventing destruction of the potential contraband”); White, 526 U.S. at 564-65

 (suggesting that warrantless seizure of a vehicle would not violate the Fourth Amendment

 where the police had probable cause to believe that respondent's car contained contraband

 or was itself contraband); cf. Cardwell, 417 U.S. at 593 (when the police have probable

 cause to conduct a search of a vehicle, and they impound the vehicle prior to conducting

 the search, the search is not unconstitutional); Zavesky, 839 F.3d at 697 (citing Goodale,

 738 F.3d at 922 (noting where officers have probable cause to believe item contains

 contraband and there is a legitimate interest in preventing destruction of the potential

 contraband, the Fourth Amendment permits seizure of the property, pending issuance of a

 warrant to examine its contents)); Kaplan, 526 Fed. Apps. at 214 (police permitted to seize

 minivan and hold it without a warrant ”for whatever period is necessary to obtain warrant

 for the search”) (quoting Chambers v. Maroney, 399 U.S. 42, 51 (1970)); Wellsandt, 2016

 WL 1688008 at *4 (impoundment of Ford pick-up truck pending warrant proper where risk

 of truck’s disappearance before a warrant may be obtained outweighed the interest in

 possession); Richardson, 2016 WL 223705 at *5 (officers had probable cause both to

 search the vehicle and to seize it but, in an abundance of caution, officers lawfully

 impounded the car to allow them to first seek a search warrant); but compare Vento, 533

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 F.2d at 866 (contrary to Defendant’s argument here, defendant challenged the “automobile

 exception” and complained that police should have seized the vehicle first and refrained

 from searching it until obtaining a warrant for that purpose).

        As the Sixth Circuit said in upholding the warrantless seizure of a suitcase while

 officers obtained a search warrant, “[t]his was a plain old-fashioned seizure of a person's

 effects, based on probable cause, in order to prevent the disappearance of evidence and so

 that a warrant could be obtained and a search conducted.” See Clutter, 674 F.3d at 985

 (quoting Respress, 9 F.3d at 486). The same can be said here. Accordingly, there was no

 Fourth Amendment violation. See Mays, 993 F.3d at 616-618 (15-day delay during which

 officers held defendant’s laptop pending the issuance of warrant was reasonable and did

 not cause the continuing seizure to violate Defendant’s Fourth Amendment rights).12

        Finally, because the warrantless seizure of the vehicles was justified by exigent

 circumstances, Defendant’s argument that evidence obtained from the vehicles is

 poisonous fruit also fails. Suppressing evidence as the fruit of an illegal search or seizure

 depends on the “nexus between the constitutional violation and the challenged evidence.”

 Riesselman, 646 F.3d at 1079. As previously discussed, officers did not commit any


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        Like the Grand Prix previously discussed, the record also establishes that the items
 within the Pontiac GTO and Chevrolet Silverado could be validly seized under the
 automobile exception to the warrant requirement. If there is probable cause to search a
 vehicle, and the vehicle is readily mobile, the Fourth Amendment permits the police to
 search the vehicle without more. Labron, 518 U.S. at 940 (citing Carney, 471 U.S. at 393).
 No special exigency is required beyond a showing of the mobility of the vehicle. See
 Dyson, 527 U.S. at 466–67. Here, the Grand Prix was readily mobile. Officers observed
 the Defendant drive the Grand Prix from the garage to the open driveway. It was movable.
 It was operational. “All that is necessary to satisfy this element is that the automobile is
 operational.” See, e.g., Watts, 329 F.3d at 1286.
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 constitutional violations as they were invited upon the PUR Performance premises by its

 employees. Further, officers possessed probable cause and exigent circumstances justified

 the seizure of the vehicles. Even if Defendant could demonstrate the seizure was unlawful,

 he fails to meet his burden to show a “factual nexus” between a constitutional violation and

 the challenged evidence. Id. The undisputed evidence shows the search warrant was based

 upon the information officers gathered prior to the vehicles’ seizure and subsequent search.

 See Wong Sun, 371 U.S. at 487 (1963) (holding exclusionary rule inapplicable when

 evidence is acquired through source independent of illegality); see Swope, 542 F.3d at 613-

 14 (warrant is an independent source when based on evidence not obtained by unlawful

 act). As such, any evidence obtained from the search of the vehicles is not related to any

 constitutional violation and was a product of an independent source. Thus, the evidence is

 not the fruit of any unlawful police conduct and should not be suppressed. See, e.g.,

 Wainright, 2019 WL 7285565 at *5.

               2.     The Pontiac GTO’s and Chevrolet Silverado’s search warrants
                      were supported by probable cause.

        On August 28, 2015, probable cause existed to believe that both vehicles were

 evidence of a crime and also contained evidence of a crime. As noted earlier, probable

 cause is “a fluid concept turning on the assessment of probabilities in particular factual

 contexts not readily, or even usefully, to a neat set of legal rules,” and its existence

 determined by an analysis of the totality of circumstances surrounding the intrusion. Id. at

 232, 238.




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        Following the seizures of the Pontiac GTO and Chevrolet Silverado, officers again

 met with CW who provided more specific detail regarding each vehicle. Among other

 things, CW identified both vehicles as used by Defendant to commit crimes and avoiding

 detection by law enforcement and rival drug traffickers, among other things. This was

 particularly compelling based upon the fact that this specific, reliable information was

 being provided by CW who committed criminal activity with Defendant. See Nolen, 536

 F.3d at 839-40 (explaining that tips from identifiable informants deserve greater weight

 because they “can be held responsible if [their] allegations turn out to be fabricated”);

 Stevens, 530 F.3d at 718-19 (8th Cir. 2008) (finding probable cause in part because the

 tipster had offered “a first-person, eyewitness account of ... contraband”).

        Based upon the information known to officers, each vehicle was the instrumentality

 of one or more crimes and contained evidence of Defendant’s possession of firearms in

 furtherance of his drug trafficking. Here, officers had specific information that each

 vehicle was used by Defendant to conduct his drug trafficking and other crimes of violence.

 Armed with this information, SA Burke applied for and received a federal search warrant

 for each vehicle.

        At the time SA Burke applied for the Pontiac GTO and Chevrolet Silverado search

 warrants, CW’s information had “been deemed reliable based upon physical surveillance,

 interviews of other sources and/or witnesses, the execution of search warrants, resulting in

 the seizure of physical evidence from, among other locations, a known stash house for

 JORDAN [4223 West Sacramento] in August 2015, and the existing overall investigation”

 (Exh. 8 at Aff. p. 3; Exh. 9 at Aff. p. 3). Further, CW “testified under oath before the

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 federal grand jury regarding his knowledge regarding JORDAN and JORDAN’s criminal

 activity” (Id.).

        Against that backdrop, CW identified the Pontic GTO as a vehicle Defendant used

 to commit a murder and had repainted from back to red to avoid detection, among other

 things. By locating the Pontiac GTO and PUR Performance and speaking with employees,

 officers were able straightforwardly confirm and corroborate the witness’s information

 because the Pontiac GTO had, in fact, been repainted. See Morales, 283 F.3d at

 953; Williams, 10 F.3d at 593). Corroboration of minor, innocent details supports the

 finding of probable cause. Carpenter, 341 F.3d at 669. And not every detail must be

 corroborated. See Gladney, 48 F.3d at 313. As for the Chevrolet Silverado, the fact that

 PUR Performance employees had observed firearm-related items inside of it similarly

 confirmed and corroborated CW’s information that the Silverado was used by Defendant

 in connection with his possession of firearms in furtherance of drug trafficking activity and

 the drug trafficking activity itself.

        As discussed throughout, this Court's role is simply to determine whether the issuing

 court had a substantial basis for making the “practical, common-sense decision” it did

 about whether there was a “fair probability” that officers would discover evidence of a

 crime. See Gates, 462 U.S. at 238; Oropesa, 316 F.3d at 766. Although each piece of

 information stated in the affidavit may not provide sufficient probable cause for the warrant

 to issue, taken together and given the totality of the circumstances, a reasonable person

 could believe there was a fair probability that each vehicle was evidence of a crime and



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 that additional evidence of a crime would be found in the information sought pursuant to

 the Pontiac GTO and Chevrolet Silverado search warrants.

               3.     Officers executing the Pontiac GTO and Chevrolet Silverado
                      search warrants acted in good faith.

        Should this Court find probable cause lacking, the Leon exception should apply

 because there was a facially valid warrant that was reasonably relied upon. Evidence

 seized pursuant to a search warrant that lacked probable cause is admissible if the executing

 officer's good-faith reliance on the warrant is objectively reasonable. Perry, 531 F.3d at

 665.

        Here, the good-faith exception applies. There is no evidence to suggest that: (a)

 Judge Mummert abandoned his detached and neutral role; (b) SA Burke was dishonest or

 reckless in preparing the affidavit; (c) the officers' reliance on the warrant was not in good

 faith; or (d) the officers' reliance was not reasonable. Just the opposite is true: SA Burke

 affirmatively stated in his affidavit that he believed probable cause existed and Judge

 Mummert agreed by signing and issuing the warrant.

                                          *    *    *

        The seizure of the Pontiac GTO and Chevrolet Silverado was supported by probable

 cause and required to prevent potential evidence destruction. The subsequent search of

 each vehicle was conducted pursuant to a valid search warrant supported by probable cause

 or, alternatively, the search was conducted consistent with the good faith exception to the

 warrant requirement. The items located during the search of the Pontiac GTO and

 Chevrolet Silverado were lawfully seized and are admissible.


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 VII.   FIFTEEN DIGITAL DEVICES

        A.     Relevant Facts

        During the course of the on-going investigation into Defendant’s criminal activity

 and subsequent federal indictment, officers seized 15 digital devices, including multiple

 cellular telephones. On October 6, 2015, SA Burke presented a search warrant application

 to Magistrate Judge Noelle C. Collins for authorization to search the 15 digital devices. A

 true and accurate copy of the digital device search warrant documentation is submitted

 herewith as Exhibit 10 and incorporated herein by this reference. 13

        The warrant was executed by the Federal Bureau of Investigation (FBI) on devices

 numbered 1, 2, 4, 5, 6, 7, 10, 12, 14, and 15 between October 8 and October 13, 2015, and

 data was extracted thereafter. The FBI attempted to access and search devices 9 and 15 to

 no avail between October 8 and 13, 2015, as each was passcode protected. 14

        Devices 2, 6, 7, and 9, as well as a copy of extraction data already retrieved by the

 FBI from device 14, were submitted by the FBI on October 29, 2015 to the Regional

 Computer Crime Education and Enforcement Group of Greater Saint Louis for additional

 extraction efforts. Search of and information extraction from any device subject to this




 13
       The return incorrectly lists October 2016, instead of October 2015, as the date the
 warrant was executed (see Exh. 10).
 14
         As to devices 3, 8, 11, and 13, each was initially accessed by the FBI between
 October 8 and October 13, 2015. By this footnote, the United States represents that it
 does not intend to utilize information contained on devices 3, 8, 11, and 13 during any
 trial of Defendant. Therefore, Defendant’s challenge to the search each of these devices
 is moot.
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 search warrant was ultimately concluded by approximately June 2016. The return was

 filed with the court on or about February 23, 2017.

        B.     Opposition

              1.      Evidence Seized from the 15 digital devices is admissible
                      because officers did not recklessly disregard Rule 41, and
                      Defendant is not prejudiced.

        Federal Rule of Criminal Procedure 41(e)(2)(A)(i) provides that a search warrant

 must be executed “within a specified time no longer than 14 days.” Rule 41(f)(1)(D)

 requires that the warrant and a copy of the inventory of seized items be returned promptly

 to the issuing judge. Noncompliance with Rule 41 does not automatically require evidence

 to be suppressed. Schoenheit, 856 F.2d 74. The Eighth Circuit has held that “timeliness

 of execution should not be determined by means of a mechanical test with regard to the

 number of days from issuance, nor whether any cause for the delay was per se reasonable

 or unreasonable.” United States v. Simpkins, 914 F.2d 1054, 1059 (8th Cir. 1990). Instead,

 the timeliness should be measured in terms of “whether probable cause still existed at the

 time the warrant was executed.” Id. (emphasis supplied). Exclusionary rules apply to

 violations of Rule 41 only if a defendant is prejudiced or there is reckless disregard of

 proper procedure. See United States v. Bieri, 21 F.3d 811, 816 (8th Cir. 1994), United

 States v. Mutschelknaus, 592 F.3d 826, 829 (8th Cir. 2010); United States v. Freeman, 897

 F.2d 346, 349 (8th Cir. 1990).

        Defendant argues the evidence seized from 15 digital devices should be suppressed

 because officers failed to execute the warrant within the eight days provided by the search

 warrant. Unclear from Defendant’s motion is whether Defendant is arguing the search

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 must have begun before the eight-day period or whether it must have been completed

 within the eight-day period. To the extent Defendant argues that the officers were required

 to complete the electronic search of the 15 digital devices within eight days, Defendant is

 incorrect. “No presumptive time limit is found in the rule for when the review of a medium

 or copying of its data must be complete.” See Fed. R. Crim. P. 41(e)(2)(B); Beckmann,

 786 F.3d at 680 n.6.

        As detailed above, search of the 15 digital devices by the FBI occurred between

 October 8 and October 13, 2015 -- days after the search warrant was issued and prior to

 October 14, 2015. A “search” of a computer is any use of the computer or its hardware to

 reveal information stored on the computer, when done in a way that would invade a

 reasonable expectation that data stored in the computer is private. See, e.g., United States

 v. Mann, 592 F.3d 779, 786 (7th Cir. 2010) (referring to the forensic process as “searches

 of digital media”); United States v. Burgess, 576 F.3d 1078, 1089 (10th Cir. 2009)

 (referring to “authority to search [a computer’s] contents”); United States v. Adjani, 452

 F.3d 1140, 1143 n.1 (9th Cir. 2006). A warrant can be executed by taking any step -- even

 a minimal one -- to intrude on the owner’s expectation of privacy in its contents such as

 turning the device on or scrolling through the device’s menu. See United States v.

 Holzman, 871 F.2d 1496, 1505 (9th Cir. 1989) (officers flipped through address book at

 time of arrest and determined that it contained “a bunch of names and numbers”) (citing

 United States v. Burnette, 698 F.2d 1038, 1049 (9th Cir. 1983)) e

        The fact that a complete search and data extraction for each device may have taken

 longer than eight days is of no moment. An initial search of a device’s data constitutes

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 “execution” of a warrant, and a full forensic analysis of the device need not begin within

 Rule 41’s time-limit. After this initial search, the owner’s expectation of privacy in the

 cell phone is significantly reduced. Cf. U.S. v. Guevera, 589 F. Supp. 760, 762 (citing

 Burnette, 698 F.2d at 1049 (officers opened purse at time of arrest and saw it contained “a

 large sum of money” but only later discovered stolen money orders and examined bill serial

 numbers); see also Holzman, 871 F.2d 1496, 1505 (9th Cir. 1989) (later, additional

 examination of a package’s content does not require warrant when initial viewing occurred

 pursuant to a warrant).

        But, even if complete examination were somehow required, no reckless disregard

 of Rule 41 occurred, and Defendant has not been prejudiced in any way that would support

 exclusion. In Beckmann, 786 F.3d at 680, the Eighth Circuit held that if a violation of Rule

 41 occurs, “the Court may exclude the evidence described in the search warrant only if the

 defendant is prejudiced or if reckless disregard of proper procedure is evident.” In

 evaluating prejudice to the defendant, the Eighth Circuit has held that if the search would

 have occurred had Rule 41 been strictly adhered to, there is no prejudice to the defendant.

 United States v. Turner, 781 F.3d 374, 387 (8th Cir. 2015) (quoting Hyten, 5 F.3d at 1157).

 Moreover, a finding of reckless disregard of proper procedure must be based on some

 suggestion of bad faith. See id. In Beckmann, although officers secured a search warrant

 for computer media on August 15, 2011, the analyst did not begin to analyze the computers

 until November 2011 and hard drives until January 2012. Beckmann, 786 F.3d at 676.

 Although this execution was well outside the fourteen-day time period, the court declined

 to suppress the evidence. Further, the Court did not even reach whether the United States

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 violated Rule 41 because “there was neither prejudice nor reckless disregard sufficient to

 justify suppression of the physical evidence seized from Beckmann.”                Id. at 680.

 Moreover, assuming there was an actual delay, “the government did not exhibit reckless

 disregard for proper procedure in light of the length of time typically required to conduct

 computer analyses…” Id. at 680-81. Here, testimony presented at the evidentiary hearing

 will show there was no reckless disregard for procedure.

          Additionally, Defendant fails to identify how he has been prejudiced by any delay.

 To demonstrate prejudice, Defendant must show that the Rule 41 violation subjected him

 to a search that either would not have occurred or would not have been so “abrasive” if

 officers had followed the Rule. United States v. Williamson, 439 F.3d 1125, 1133 (9th Cir.

 2006).

          Finally, Defendant fails to recognize that probable cause still existed at the time the

 search warrant was executed. See United States v. Nyah, 928 F.3d 694 (8th Cir. 2019)

 (finding that even if a warrant was executed late, probable cause continued to exist). In

 United States v. Brewer, 588 F.3d 1165, 1173 (8th Cir. 2009), this Court addressed a

 forensic analysis of computer evidence seized pursuant to a Missouri state search warrant

 that became void after 10 days. There, the computer analysis took place after the 10 days

 expired.     The Brewer court held that, because the computer media at issue were

 electronically stored files in the custody of law enforcement, several months’ delay in

 searching the media did not alter the probable cause analysis and the forensic analyses did

 not violate the Fourth Amendment. Id.



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        Similarly, the cases of United States v. Grimmett, No. 04-40005-01-RDR, 2004 WL

 3171788 at *5 (D. Kan. Aug. 10, 2004), and United States v. Luken, 515 F. Supp. 2d 1020

 (D. S.D. 2007), are instructive. In Grimmett, the district court addressed the issue of a

 delay of a computer search. The district court concluded that the evidence should not be

 suppressed. The district court explained that the conduct of law enforcement officers in

 executing a search warrant is governed by reasonableness. The search must only be made

 within a reasonable time. Id. at *5; see also United States v. Syphers, 296 F. Supp. 2d 50,

 58 (D. N.H. 2003) (where court upheld a search of computers seven months after the

 seizure because the time frame was not unreasonable).

        In United States v. Luken, 515 F. Supp. 2d 1020 (D. S.D. 2007), the district court

 analyzed this issue when the officer failed to examine a computer within 10 days. In Luken,

 officers seized a computer from the Defendant’s residence on July 25, 2006 and obtained

 a search warrant that day. The computer was sent to an examiner to be analyzed but was

 returned back to the agent because of an “extreme backlog.” Id. at 1032. The examiner

 was not able to examine the computer until the end of August 2006. Assuming the ten-day

 limitation applied to the time in which the computer should have been forensically

 examined rather than seized, the court explained that the issue needed to be evaluated under

 federal Fourth Amendment standards. Id. at 1037.

               2.     Defendant’s motion for a Franks hearing should be denied.

        Defendant has also moved for a Franks hearing, alleging that a statement contained

 in the affidavit to search the 15 digital devices was false. Specifically, Defendant argues

 that the affidavit for the search warrant contains a statement that Defendant has a 2005

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 conviction for Unlawful Use of a Weapon, which Defendant maintains is false. Defendant

 maintains that, without this statement, the warrant would not have been supported by

 probable cause.

        “There is … a presumption of validity with respect to the affidavit supporting [a]

 search warrant.” Franks v. Delaware, 438 U.S. 154, 171 (1978). A defendant who

 challenges the validity of an affidavit is entitled to an evidentiary hearing only if he makes

 “a substantial preliminary showing that a false statement knowingly and intentionally, or

 with reckless disregard for the truth, was included by the affiant in the warrant affidavit,

 and if the allegedly false statement is necessary to the finding of probable cause.” Id. at

 155-56 (emphasis added). “The ‘substantial preliminary showing’ requirement needed to

 obtain a Franks hearing is not lightly met.” United States v. Milton, 153 F.3d 891, 896

 (8th Cir. 1998). Indeed, in Franks, the Supreme Court was careful to articulate what it

 meant by a substantial preliminary showing:

               To mandate an evidentiary hearing, the challenger’s attack
               must be more than conclusory and must be supported by more
               than a mere desire to cross-examine. There must be allegations
               of deliberate falsehood or of reckless disregard for the truth,
               and those allegations must be accompanied by an offer of
               proof. They should point out specifically the portion of the
               warrant affidavit that is claimed to be false; and they should be
               accompanied by a statement of supporting reasons. Affidavits
               or sworn or otherwise reliable statement of witnesses should
               be furnished, or their absence explained. Allegations of
               negligence or innocent mistake are insufficient. The deliberate
               falsity or reckless disregard whose impeachment is
               permitted...is only that of the affiant, not of any
               nongovernmental informant. 438 U.S. at 171.



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        When a defendant alleges that an affidavit submitted in support of a search warrant

 application omitted facts, the defendant bears the burden to make that substantial

 preliminary showing. United States v. Reinholz, 245 F.3d 765, 774 (8th Cir. 2001); see

 also Franks, 438 U.S. at 155–56. Specifically, the defendant must also show that the

 affidavit would not establish probable cause if the allegedly false information is ignored or

 the omitted information is supplemented. United States v. Mashek, 606 F.3d 922, 928 (8th.

 Cir. 2010) (citing Reinholz, 245 F.3d at 774). “Allegations of negligence or innocent

 mistake will not suffice to demonstrate a recklessness or deliberate falsehood.” Id. (citing

 Franks, 438 U.S. at 171). Instead, the court must determine “whether, after viewing all the

 evidence, the affiant must have entertained serious doubts as to the truth of his statements

 or had obvious reasons to doubt the accuracy of the information he reported.” United States

 v. McIntyre, 646 F.3d 1107, 1114 (8th Cir. 2011).

        In determining whether statements were made with reckless disregard for the truth,

 courts consider “whether, after viewing all the evidence, the affiant must have entertained

 serious doubts as to the truth of his statements or had obvious reasons to doubt the accuracy

 of the information he reported.” United States v. Butler, 594 F.3d 955, 961 (8th Cir. 2010);

 see also United States v. Gater, 868 F.3d 657, 659-60 (8th Cir. 2017). Similarly, where a

 defendant asserts the affidavit for the search warrant omitted material facts, he or she must

 make a substantial preliminary showing that (1) the affiant omitted facts with the intent to

 mislead the issuing judge or omitted the facts in reckless disregard of the fact that the

 omissions would mislead, and (2) the affidavit, if supplemented by the omitted information



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 could not support a finding of probable cause. Gater, 868 F.3d at 659-60 (citing United

 States v. Conant, 799 F.3d 1195, 1200 (8th Cir. 2015)).

        Before a defendant may receive a Franks hearing, the reviewing magistrate judge

 must determine that the allegedly false statement was necessary to the finding of probable

 cause. Franks, 438 U.S. 155-56; Keys, 721 F.3d at 518.

        Defendant has not met his burden with regard to either prong of Franks.

 Defendant’s argument ignores the substantial volume of information in the affidavit that

 would establish probable cause, regardless of any alleged imperfections. First, although

 the affidavit incorrectly states that Defendant has a 2005 conviction, the statement is hardly

 a deliberate falsehood or reckless disregard for the truth. Indeed, in 2005, Defendant

 pleaded guilty to Unlawful Use of a Weapon in the Circuit Court for the City of St. Louis,

 Missouri. However, Defendant only received a suspended imposition of sentence (SIS).

 Although imposition of a SIS by a court may not be a felony conviction, it can hardly be

 said that “the affiant must have entertained serious doubts as to the truth of his statements

 or had obvious reasons to doubt the accuracy of the information he reported.” Butler, 594

 F.3d at 961.

        Second, the statement was not necessary to the finding of probable cause.

 Defendant argues that, but for this statement, the magistrate judge would not have

 authorized the warrant. Defendant’s argument is incorrect and blatantly ignores the ample

 information establishing probable cause for drug trafficking and firearm-related violations

 of federal law. For example, the affidavit explains that officers had learned that Defendant

 was involved in an ongoing feud with a rival drug faction and had committed several

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 murders in retaliation. The affidavit relies upon CW who had a long-standing relationship

 with Defendant.      Defendant had supplied CW with narcotics.             Additionally, CW

 participated in multiple murders with Defendant. CW related that he and Defendant

 communicated regularly over multiple cellular telephones.

        The affidavit also explained that Defendant had been federally indicted in the

 Eastern District of Missouri. Following the indictment, officers executed a number of

 federal search warrants on residences and vehicles associated with Defendant. Among

 items seized were numerous firearms, ammunition, and the 15 digital devices, including

 cellular telephones, which were the subject of the warrant.

          The affidavit further set out the training, knowledge, and experience of SA Burke.

 Specifically, the affidavit explained how individuals involved in drug trafficking “rely

 heavily on mobile telephones to conduct activities related to and in furtherance of the

 criminal activity” (Exh. 10 at Aff. pp. 8-9). Further, individuals involved in the distribution

 of controlled substances will use these phones to “pass communications, such as

 instructions, negotiations, directions, and locations, both verbally and in writing via

 electronic message” (Id.).

        In removing the inaccurate statement about Defendant’s SIS being a “conviction,”

 probable cause was still solidly established within the search warrant affidavit. It set forth

 facts more than sufficient to create a fair probability that evidence of a crime would be

 found within the digital devices, including the cellular telephones. Additionally, Defendant

 fails to mount a viable Franks challenge, and his request for a hearing should be denied.



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                                       CONCLUSION

        For the foregoing reasons and additional information that may be adduced during

 the course of any evidentiary hearing(s), the United States of America respectfully requests

 that this Court deny Defendant Anthony Jordan’s motion to suppress evidence in its

 entirety as all evidence seized was done lawfully.

                                                   Respectfully submitted,

                                                   SAYLER A. FLEMING
                                                   United States Attorney

                                                   /s/ Thomas Rea
                                                   THOMAS REA, #53245MO
                                                   ERIN GRANGER, #53593MO
                                                   Assistant United States Attorneys
                                                   111 S. 10th Street, 20th Floor
                                                   St. Louis, Missouri 63102
                                                   (314) 539-2200

                                                   /s/ Sonia V. Jimenez
                                                   SONIA V. JIMENEZ, #8818NV
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Criminal Division, Capital Case Section
                                                   1331 F. Street, N.W., 6th Floor
                                                   Washington, D.C. 20530
                                                   (202) 616-2514
                                                   Sonia.Jimenez@usdoj.gov

                                CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on August 13, 2021, the foregoing was filed
 electronically with the Clerk of the Court to be served by operation of the Court’s electronic
 filing system upon all parties and counsel of record.
                                                    /s/ Thomas Rea
                                                    THOMAS REA, #53245MO
                                                    Assistant United States Attorney
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